USCA4 Appeal: 14-4522     Doc: 12       Filed: 10/09/2014   Pg: 1 of 178




                                           No. 14-4522


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                   ____________________

                               UNITED STATES OF AMERICA,
                                              Plaintiff/Appellee,

                                                v.


                                      WILLIAM GAZAFI,
                                                  Defendant/Appellant.
                                     ____________________

                        On Appeal from the United States District Court
                        for the District of Maryland, Southern Division
                                (The Honorable Roger W. Titus)
                                    ____________________

                                      JOINT APPENDIX

                                          VOLUME I
                                     ____________________

              ROD J. ROSENSTEIN                             JAMES WYDA
              United States Attorney                        Federal Public Defender
              THOMAS SULLIVAN                               MEGHAN S. SKELTON
              Assistant U.S. Attorney                       Appellate Attorney
              6500 Cherrywood Lane                          6411 Ivy Lane
              Suite 200                                     Suite 710
              Greenbelt, MD 20770                           Greenbelt, MD 20770
              (301) 344-4433                                (301) 344-0600

              Counsel for Appellee                          Counsel for Appellant
USCA4 Appeal: 14-4522           Doc: 12              Filed: 10/09/2014           Pg: 2 of 178




                                                TABLE OF CONTENTS

                                                                                                                      Page
                                                           Volume I

        District Court Docket Sheet. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

        Indictment (Docket Entry 13). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

        Defendant’s Correspondence re: Plea (Docket Entry 25).. . . . . . . . . . . . . . . . . . . 19

        Government’s Correspondence re: Plea (Docket Entry 26). . . . . . . . . . . . . . . . . . 25

        Plea Hearing Transcript (April 21, 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38

        Sentencing Transcript (June 23, 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 71

        Judgment in Criminal Case (June 23, 2014)(Docket Entry 51). . . . . . . . . . . . . . 170

        Notice of Appeal (Docket Entry 53). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 176


                                            Volume II - (UNDER SEAL)

        Presentence Report. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 177

        Defendant’s Sentencing Memorandum. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 197

        Government’s Sentencing Memorandum. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 276




                                                                -i-
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 3 of 178




                                           1
USCA4 Appeal: 14-4522       Doc: 12            Filed: 10/09/2014    Pg: 4 of 178




                                                                   Community Defender Appointment

        Pending Counts                                             Disposition
                                                                   Imprisonment for a Total Term of
                                                                   360 Months as to each Counts 1, 2, 3,
        18:2251(a), 18:2253; Sexual                                and 4 Consecutive to Each Other and
        Exploitation of Minor for Purpose of                       360 Months as to each of Counts 5
        Producing Child Pornography,                               and 6 Concurrent to all Counts for a
        Forfeiture                                                 Total of 1,440 Months; Supervised
        (1)                                                        Release for a Term of LIFE as to 1, 2,
                                                                   3, 4, 5, and 6; Special Assessment
                                                                   $600.00
                                                                   Imprisonment for a Total Term of
                                                                   360 Months as to each Counts 1, 2, 3,
        18:2251(a), 18:2253; Sexual                                and 4 Consecutive to Each Other and
        Exploitation of Minor for Purpose of                       360 Months as to each of Counts 5
        Producing Child Pornography,                               and 6 Concurrent to all Counts for a
        Forfeiture                                                 Total of 1,440 Months; Supervised
        (2)                                                        Release for a Term of LIFE as to 1, 2,
                                                                   3, 4, 5, and 6; Special Assessment
                                                                   $600.00
                                                                   Imprisonment for a Total Term of
                                                                   360 Months as to each Counts 1, 2, 3,
        18:2251(a), 18:2253; Sexual                                and 4 Consecutive to Each Other and
        Exploitation of Minor for Purpose of                       360 Months as to each of Counts 5
        Producing Child Pornography,                               and 6 Concurrent to all Counts for a
        Forfeiture                                                 Total of 1,440 Months; Supervised
        (3)                                                        Release for a Term of LIFE as to 1, 2,
                                                                   3, 4, 5, and 6; Special Assessment
                                                                   $600.00
                                                                   Imprisonment for a Total Term of
                                                                   360 Months as to each Counts 1, 2, 3,
        18:2251(a), 18:2253; Sexual                                and 4 Consecutive to Each Other and
        Exploitation of Minor for Purpose of                       360 Months as to each of Counts 5
        Producing Child Pornography,                               and 6 Concurrent to all Counts for a
        Forfeiture                                                 Total of 1,440 Months; Supervised
        (4)                                                        Release for a Term of LIFE as to 1, 2,
                                                                   3, 4, 5, and 6; Special Assessment
                                                                   $600.00
        18:2251(a), 18:2253; Sexual                                Imprisonment for a Total Term of
        Exploitation of Minor for Purpose of                       360 Months as to each Counts 1, 2, 3,
        Producing Child Pornography,                               and 4 Consecutive to Each Other and
        Forfeiture                                                 360 Months as to each of Counts 5
        (5)                                                        and 6 Concurrent to all Counts for a



                                                        2
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 5 of 178




                                           3
USCA4 Appeal: 14-4522       Doc: 12         Filed: 10/09/2014      Pg: 6 of 178




                                                                 Thomas M Sullivan
                                                                 Office of the United States Attorney
                                                                 6500 Cherrywood Lane Ste 200
                                                                 Greenbelt, MD 20770
                                                                 13013440173
                                                                 Fax: 13013444516
                                                                 Email: thomas.sullivan@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant US Attorney

                                                                 Rod J Rosenstein
                                                                 Office of the United States Attorney
                                                                 Do Not Mail
                                                                 Baltimore, MD 21201
                                                                 14102094800
                                                                 Email: rod.rosenstein@usdoj.gov
                                                                 Designation: Assistant US Attorney


        Date Filed   #      Docket Text
        08/29/2013      1   SEALED CRIMINAL COMPLAINT as to William Gazafi (1).
                            (Attachments: # 1 Affidavit) (jcs, Deputy Clerk)[8:13-mj-02053-WGC]
                            (Additional attachment(s) added on 9/12/2013: # 2 Criminal Complaint -
                            Redacted, # 3 Affidavit In Support of Criminal Complaint - Redacted)
                            (pkfs, Deputy Clerk). (Entered: 08/29/2013)
        08/29/2013      2   Motion to Seal and Order "GRANTING" same as to William Gazafi.
                            Signed by Magistrate Judge William Connelly on 08/28/2013. (jcs, Deputy
                            Clerk) [8:13-mj-02053-WGC] (Entered: 08/29/2013)
        09/03/2013      4   Initial Appearance as to William Gazafi (Defendant informed of Rights.)
                            held on 9/3/2013 before Magistrate Judge William Connelly. (Ionetz - 3B)
                            (jcs, Deputy Clerk) [8:13-mj-02053-WGC] (Entered: 09/03/2013)
        09/03/2013          Case unsealed as to William Gazafi (jcs, Deputy Clerk) [8:13-mj-02053-
                            WGC] (Entered: 09/03/2013)
        09/03/2013      5   CJA 23 Financial Affidavit by William Gazafi (jcs, Deputy Clerk) [8:13-
                            mj-02053-WGC] (Entered: 09/04/2013)
        09/03/2013      6   ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to William
                            Gazafi. Signed by Magistrate Judge William Connelly on 09/03/2013. (jcs,
                            Deputy Clerk) [8:13-mj-02053-WGC] (Entered: 09/04/2013)
        09/03/2013      7   ORDER OF TEMPORARY DETENTION as to William Gazafi. Signed by
                            Magistrate Judge William Connelly on 09/03/2013. (jcs, Deputy Clerk)
                            [8:13-mj-02053-WGC] (Entered: 09/04/2013)



                                                      4
USCA4 Appeal: 14-4522       Doc: 12         Filed: 10/09/2014      Pg: 7 of 178




        09/05/2013      8   NOTICE OF ATTORNEY APPEARANCE: John Chamble as Public
                            Defender appearing for William Gazafi (Chamble, John) [8:13-mj-02053-
                            WGC] (Entered: 09/05/2013)
        09/06/2013      9   Detention Hearing as to William Gazafi held on 9/6/2013 before Magistrate
                            Judge William Connelly. (Hatcher-3B.) (chs, Deputy Clerk) [8:13-mj-
                            02053-WGC] (Entered: 09/09/2013)
        09/06/2013   10     ORDER OF DETENTION as to William Gazafi. Signed by Magistrate
                            Judge William Connelly on 09/06/2013. (chs, Deputy Clerk) [8:13-mj-
                            02053-WGC] (Entered: 09/09/2013)
        09/09/2013   11     NOTICE OF ATTORNEY APPEARANCE: Amy Steffan Fitzgibbons as
                            Public Defender appearing for William Gazafi (Fitzgibbons, Amy) [8:13-
                            mj-02053-WGC] (Entered: 09/09/2013)
        09/10/2013   12     NOTICE OF ATTORNEY APPEARANCE Thomas M Sullivan appearing
                            for USA. (Sullivan, Thomas) [8:13-mj-02053-WGC] (Entered: 09/10/2013)
        09/11/2013   13     INDICTMENT as to William Gazafi (1) count(s) 1-6. (ebs2, Deputy Clerk)
                            (Entered: 09/11/2013)
        09/12/2013   15     SEALED MOTION To Replace the Complaint Affidavit (Docket NO. 1)
                            With Redacted Version by USA as to William Gazafi. (pkfs, Deputy Clerk)
                            (Entered: 09/12/2013)
        09/12/2013   16     SEALED ORDER granting 15 Motion To Replace the Complaint Affidavit
                            (Docket NO. 1) With Redacted Version as to William Gazafi (1). Signed by
                            Magistrate Judge Thomas M. DiGirolamo on 9/11/13. (pkfs, Deputy Clerk)
                            (Entered: 09/12/2013)
        09/13/2013          PAPERLESS NOTICE OF HEARING by U.S. Attorney's Office as to
                            William Gazafi. PLEASE NOTE: Defendant is in custody. A writ has not
                            been requested. A come up was requested on 9/13/2013. An interpreter will
                            not be needed. Arraignment set for 9/19/2013 01:45 PM in Courtroom 2A,
                            6500 Cherrywood Lane, Greenbelt, Maryland 20770, before Magistrate
                            Judge Charles B. Day. Initial Appearance set for 9/19/2013 01:45 PM in
                            Courtroom 2A, 6500 Cherrywood Lane, Greenbelt, Maryland 20770, before
                            Magistrate Judge Charles B. Day. (Freitas, LisaMarie) (Entered:
                            09/13/2013)
        09/19/2013   17     Initial Appearance as to William Gazafi (Defendant informed of Rights.)
                            held on 9/19/2013, Arraignment as to William Gazafi (1) Count 1-6 held on
                            9/19/2013, Plea entered by William Gazafi Not Guilty on counts 1-6 of the
                            Indictment. before Magistrate Judge Charles B. Day. (Hatcher-2A.) (chs,
                            Deputy Clerk) (Entered: 09/20/2013)
        09/19/2013   18     Memorandum Order as to William Gazafi scheduling trial to begin
                            November 12, 2013 at 9:00 a.m.; Pretrial motions due on or before October




                                                      5
USCA4 Appeal: 14-4522     Doc: 12          Filed: 10/09/2014       Pg: 8 of 178




                          7, 2013; Telephone conference with counsel scheduled for October 9, 2013
                          at 5:30 p.m. Signed by Judge Roger W. Titus on 9/19/2013. (chs, Deputy
                          Clerk) (Entered: 09/20/2013)
        09/23/2013   19   Joint MOTION to Exclude Time Under Speedy Trial Act by William
                          Gazafi. Responses due by 10/10/2013 (Attachments: # 1 Text of Proposed
                          Order)(Fitzgibbons, Amy) (Entered: 09/23/2013)
        10/09/2013   20   MOTION to Suppress Tangible Evidence by William Gazafi. Responses
                          due by 10/28/2013 (Chamble, John) (Entered: 10/09/2013)
        10/09/2013        Telephone Conference as to William Gazafi held on 10/9/2013 before Judge
                          Roger W Titus. (hbm, Deputy Clerk) (Entered: 10/25/2013)
        10/11/2013   21   ORDER Continuing trial date; setting pre-trial motions deadlines;
                          scheduling hearing for January 27, 2014, at 1:00 p.m. on defendant's pretrial
                          motions; scheduling telephone status conference for December 10, 2013, at
                          5:30 p.m.; denying as moot 19 motion to exclude time under Speedy Trial
                          Act as to William Gazafi (1). Signed by Judge Roger W Titus on 10/11/13
                          (cags, Deputy Clerk) (Entered: 10/11/2013)
        12/10/2013        Telephone Status Conference as to William Gazafi held on 12/10/2013
                          before Judge Roger W Titus. (hbm, Deputy Clerk) (Entered: 12/27/2013)
        12/11/2013   22   ORDER setting pre-trial deadlines; rescheduling the hearing currently
                          scheduled for January 27, 2014 for March 31, 2014 at 4:00 p.m; scheduling
                          a further telephone status conference on February 25, 2014, at 5:30 p.m., as
                          to William Gazafi. Signed by Judge Roger W Titus on 12/11/2013. (am2s,
                          Deputy Clerk) (Entered: 12/11/2013)
        02/26/2014   23   ORDER setting pretrial deadlines; rescheduling the hearing currently
                          scheduled for March 31, 2014 for April 29, 2014 at 3:00 p.m.; setting a
                          further telephone status conference on March 26, 2014, at 5:30 p.m., as to
                          William Gazafi. Signed by Judge Roger W Titus on 2/25/2014. (am2s,
                          Deputy Clerk) (Entered: 02/26/2014)
        03/27/2014   24   ORDER that a plea hearing in this matter is SCHEDULED for April 21,
                          2014 at 9:00 a.m. Signed by Judge Roger W Titus on 3/26/14. (am2s,
                          Deputy Clerk) (Entered: 03/27/2014)
        04/09/2014   25   Correspondence re: plea (Fitzgibbons, Amy) (Entered: 04/09/2014)
        04/16/2014   26   Correspondence re: plea (Sullivan, Thomas) (Entered: 04/16/2014)
        04/17/2014        PAPERLESS NOTICE OF HEARING by U.S. Attorney's Office as to
                          William Gazafi. Rearraignment/Guilty Plea scheduled for 4/21/2014.
                          PLEASE NOTE: Defendant is in custody. A writ has not been requested. A
                          come up was requested on 4/17/2014. An interpreter will not be needed.
                          Rearraignment set for 4/21/2014 09:00 AM in Courtroom 2C, 6500
                          Cherrywood Lane, Greenbelt, Maryland 20770, before Judge Roger W



                                                     6
USCA4 Appeal: 14-4522     Doc: 12          Filed: 10/09/2014       Pg: 9 of 178




                          Titus. (Freitas, LisaMarie) (Entered: 04/17/2014)
        04/21/2014   27   Rearraignment as to William Gazafi (1) Counts 1-6 held on 4/21/2014, Plea
                          entered by William Gazafi (1) Guilty Counts 1-6. before Judge Roger W
                          Titus. (Court Reporter: Lisa Bankins) (hbms, Deputy Clerk) (Additional
                          attachment(s) added on 4/21/2014: # 1 Corrected Minutes) (hbms, Deputy
                          Clerk). (Entered: 04/21/2014)
        04/21/2014        PAPERLESS NOTICE OF HEARING by U.S. Attorney's Office as to
                          William Gazafi. Sentencing Scheduled for 6/23/2014. PLEASE NOTE:
                          Defendant is in custody. A writ has not been requested. A come up was
                          requested on 4/21/2014. An interpreter will not be needed. Sentencing set
                          for 6/23/2014 01:00 PM in Courtroom 2C, 6500 Cherrywood Lane,
                          Greenbelt, Maryland 20770, before Judge Roger W Titus. (Freitas,
                          LisaMarie) (Entered: 04/21/2014)
        04/21/2014   28   Regular Sentencing Order as to William Gazafi. Signed by Judge Roger W
                          Titus on 4/21/2014. (rss, Deputy Clerk) (Entered: 04/21/2014)
        06/04/2014   30   NOTICE by USA Govt. Sentencing Witnesses (Attachments: # 1 Exhibit
                          A)(Freitas, LisaMarie) (Entered: 06/04/2014)
        06/04/2014   31   MOTION to Seal by William Gazafi. Responses due by 6/23/2014
                          (Attachments: # 1 Text of Proposed Order)(Fitzgibbons, Amy) (Entered:
                          06/04/2014)
        06/04/2014   32   PROPOSED SEALED DOCUMENT (Attachments: # 1 Exhibit, # 2
                          Exhibit, # 3 Exhibit, # 4 Exhibit)(Fitzgibbons, Amy) (Entered: 06/04/2014)
        06/11/2014   33   -SEALED- MOTION to Seal by USA as to William Gazafi. Responses due
                          by 6/30/2014 (Freitas, LisaMarie) (Entered: 06/11/2014)
        06/11/2014   34   PROPOSED SEALED DOCUMENT (Attachments: # 1 Exhibit A, # 2
                          Exhibit B, # 3 Exhibit C, # 4 Exhibit E, # 5 Exhibit F, # 6 Exhibit G, # 7
                          Exhibit H, # 8 Exhibit I, # 9 Exhibit J, # 10 Exhibit K, # 11 Exhibit
                          L)(Freitas, LisaMarie) (Entered: 06/11/2014)
        06/12/2014   35   (FILED IN ERROR) PROPOSED SEALED DOCUMENT (Attachments:
                          # 1 Exhibit M)(Freitas, LisaMarie) Modified on 6/13/2014 (rss, Deputy
                          Clerk). (Entered: 06/12/2014)
        06/13/2014   36   QC NOTICE: 35 Proposed Sealed Document filed by USA was filed
                          incorrectly.
                          **Page 2 of the Exhibit is upside down. Please ensure all pages are right-
                          side up and re-file the entire filing. This entry has been noted as FILED IN
                          ERROR, and the document link has been disabled. (rss, Deputy Clerk)
                          (Entered: 06/13/2014)
        06/17/2014   37   PROPOSED SEALED DOCUMENT (Freitas, LisaMarie) (Entered:
                          06/17/2014)



                                                      7
USCA4 Appeal: 14-4522     Doc: 12          Filed: 10/09/2014      Pg: 10 of 178




        06/20/2014   38   MOTION to Seal by William Gazafi. Responses due by 7/10/2014
                          (Attachments: # 1 Text of Proposed Order)(Fitzgibbons, Amy) (Entered:
                          06/20/2014)
        06/20/2014   39   PROPOSED SEALED DOCUMENT (Attachments: # 1
                          Exhibit)(Fitzgibbons, Amy) (Entered: 06/20/2014)
        06/20/2014   40   MOTION for Forfeiture of Property by USA as to William Gazafi.
                          Responses due by 7/10/2014 (Freitas, LisaMarie) (Entered: 06/20/2014)
        06/23/2014   41   -SEALED- MOTION to Seal by USA as to William Gazafi. Responses due
                          by 7/10/2014 (Freitas, LisaMarie) (Entered: 06/23/2014)
        06/23/2014   42   PROPOSED SEALED DOCUMENT (Attachments: # 1 Text of Proposed
                          Order)(Freitas, LisaMarie) (Entered: 06/23/2014)
        06/23/2014   43   ORDER GRANTING 41 Motion to Seal as to William Gazafi (1). Signed
                          by Magistrate Judge William Connelly on 6/23/2014. (rss, Deputy Clerk)
                          (Entered: 06/23/2014)
        06/23/2014   44   Sentencing as to William Gazafi held on 6/23/2014 before Judge Roger W
                          Titus. (Court Reporter: Lisa Bankins) (hbms, Deputy Clerk) (Entered:
                          06/23/2014)
        06/23/2014   45   Stipulation Regarding Return of Exhibits to Counsel (rss, Deputy Clerk)
                          (Entered: 06/24/2014)
        06/23/2014   46   ORDER GRANTING 31 Motion to Seal as to William Gazafi (1). Signed
                          by Judge Roger W Titus on 6/23/2014. (rss, Deputy Clerk) (Entered:
                          06/24/2014)
        06/23/2014   47   ORDER GRANTING 38 Motion to Seal as to William Gazafi (1). Signed
                          by Judge Roger W Titus on 6/23/2014. (rss, Deputy Clerk) (Entered:
                          06/24/2014)
        06/23/2014   48   ORDER DIRECTING FORFEITURE OF PROPERTY as to William
                          Gazafi. Signed by Judge Roger W Titus on 6/23/2014. (rss, Deputy Clerk)
                          (Entered: 06/24/2014)
        06/23/2014   49   Sealed Document (rss, Deputy Clerk) (Entered: 06/24/2014)
        07/01/2014   50   Sealed Document (hbm, Deputy Clerk) (Entered: 07/01/2014)
        07/01/2014   51   JUDGMENT as to William Gazafi (1), Imprisonment for a Total Term of
                          360 Months as to each Counts 1, 2, 3, and 4 Consecutive to Each Other and
                          360 Months as to Each of Counts 5 and 6 Concurrent to all Counts for a
                          Total of 1,440 Months; Supervised Release for a Term of LIFE as to 1, 2, 3,
                          4, 5, and 6; Special Assessment $600.00. Signed by Judge Roger W Titus
                          on 7/1/2014. (Attachments: # 1 Copy of Order of Forfeiture) (rss, Deputy
                          Clerk) (Entered: 07/01/2014)




                                                     8
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 11 of 178




                                           9
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 12 of 178




                                          10
                                           0
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 13 of 178




                                          11
                                           1
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 14 of 178




                                          12
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 15 of 178




                                          13
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 16 of 178




                                          14
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 17 of 178




                                          15
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 18 of 178




                                          16
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 19 of 178




                                          17
                                           7
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 20 of 178




                                          18
                                           8
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 21 of 178




19
 9
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 22 of 178




20
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 23 of 178




21
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 24 of 178




22
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 25 of 178




23
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 26 of 178




24
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014 Pg: 27 of 178
              Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 1 of 13




                                            25
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 28 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 2 of 13




                                            26
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 29 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 3 of 13




                                            27
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 30 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 4 of 13




                                            28
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 31 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 5 of 13




                                            29
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 32 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 6 of 13




                                            30
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014 Pg: 33 of 178
              Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 7 of 13




                                            31
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 34 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 8 of 13




                                            32
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 35 of 178
               Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 9 of 13




                                            33
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 36 of 178
              Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 10 of 13




                                            34
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 37 of 178
              Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 11 of 13




                                            35
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 38 of 178
              Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 12 of 13




                                            36
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014 Pg: 39 of 178
              Case 8:13-cr-00472-RWT Document 26 Filed 04/16/14 Page 13 of 13




                                            37
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014   Pg: 40 of 178



       1                       UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
       2                            SOUTHERN DIVISION

       3      UNITED STATES OF AMERICA             Criminal No.      RWT-13-0472

       4                v.                         Greenbelt, Maryland

       5      WILLIAM S. GAZAFI,                   April 21, 2014

       6                     Defendant.            9:00 a.m.

       7      --------------------------/

       8                              TRANSCRIPT OF GUILTY PLEA
                                  BEFORE THE HONORABLE ROGER W. TITUS
       9                              UNITED STATES DISTRICT JUDGE

      10      APPEARANCES:

      11      For the Government:       United States Department of Justice
                                        By: LISAMARIE FREITAS, ESQUIRE
      12                                1400 New York Avenue, NW
                                        Suite 600
      13                                Washington, D.C. 20005

      14                                United States Attorney's Office
                                        By: THOMAS M. SULLIVAN, ESQUIRE
      15                                6500 Cherrywood Lane
                                        Suite 200
      16                                Greenbelt, Maryland 20770

      17      For the Defendant:        Office of the Federal Public Defender
                                        By: AMY S. FITZGIBBONS, ESQUIRE
      18                                    JOHN CHAMBLE, ESQUIRE
                                        6411 Ivy Lane
      19                                Suite 710
                                        Greenbelt, Maryland 20770
      20

      21      Court Reporter            Lisa K. Bankins RMR
                                        United States District Court
      22                                6500 Cherrywood Lane
                                        Greenbelt, Maryland 20770
      23

      24      Proceedings recorded by mechanical stenography,
              transcript produced by notereading.
      25




                                              38                                   1
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014    Pg: 41 of 178



       1                          P R O C E E D I N G S

       2                 THE COURT:     Good morning.

       3                 MS. FREITAS:     Good morning, Your Honor.      The

       4      government calls the case of the United States of America

       5      versus William Gazafi, Criminal Number RWT-13-0472.

       6      LisaMarie Freitas and Thomas Sullivan for the government.

       7      Also with us is FBI Special Agent Jacqueline Dougher and

       8      Office of Special Investigations for the Air Force,

       9      Special Agents Webber and Castillo.

      10                 THE COURT:     Good morning.

      11                 MS. FITZGIBBONS:        Good morning, Your Honor.      Amy

      12      Fitzgibbons and John Chamble with the Federal Public

      13      Defender's Office on behalf of Mr. Gazafi who is present.

      14                 THE COURT:     All right.      Bea, you may proceed.

      15                 THE CLERK:     Mr. Gazafi, would you please stand

      16      and raise your right hand?

      17                 (Defendant sworn.)

      18                 THE CLERK:     What's your age?

      19                 THE DEFENDANT:     41.

      20                 THE CLERK:     And what year were you born?

      21                 THE DEFENDANT:     1972, ma'am.

      22                 THE CLERK:     On September the 19, 2013, you

      23      appeared before the United States Magistrate judge for the

      24      purpose of arraignment at which time you entered plea of

      25      not guilty as to Counts 1 through 6 of the indictment.            Do




                                            39                                  2
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014    Pg: 42 of 178



       1      you wish to change your plea at this time?

       2                  THE DEFENDANT:    Yes, ma'am.

       3                  THE CLERK:   And how do you wish to plead?

       4                  THE DEFENDANT:    Guilty, ma'am.

       5                  THE CLERK:   Guilty as to which counts?

       6                  THE DEFENDANT:    All counts.

       7                  THE CLERK:   All counts.      So your plea is guilty

       8      as to Counts 1 through 6 of the indictment.            Is that

       9      correct?

      10                  THE DEFENDANT:    Yes, ma'am.

      11                  THE CLERK:   Okay.     Thank you.     You should remain

      12      standing.

      13                  THE COURT:   Good morning, sir.        You've just

      14      announced a decision to enter a plea of guilty to certain

      15      federal criminal offenses and that's a very important

      16      decision.     I want to have a discussion with you about your

      17      decision.

      18                  First of all, do you understand that you are now

      19      under oath and if you were to answer any of my questions

      20      falsely, any false answers could be used against you at a

      21      later time in another prosecution for perjury or making a

      22      false statement.     Do you understand that?

      23                  THE DEFENDANT:    Yes, sir.

      24                  THE COURT:   All right.       How far did you go in

      25      school?




                                            40                                  3
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 43 of 178



       1                  THE DEFENDANT:   I have a Bachelor's Degree, sir.

       2                  THE COURT:   Where were you born?

       3                  THE DEFENDANT:   In Mexico.

       4                  THE COURT:   Are you a U.S. citizen?

       5                  THE DEFENDANT:   I am.

       6                  THE COURT:   Have you been treated recently for

       7      any mental illness or addiction to narcotic drugs of any

       8      kind?

       9                  THE DEFENDANT:   No, sir.

      10                  THE COURT:   Are you currently under the

      11      influence of any drug, medication or alcoholic beverage of

      12      any kind?

      13                  THE DEFENDANT:   No, sir.

      14                  THE COURT:   Have you received a copy of the

      15      indictment in this case?     In other words, the document

      16      that contains the charges against you.

      17                  THE DEFENDANT:   Yes, sir.

      18                  THE COURT:   And have you discussed the charges

      19      in the indictment and the case in general with your

      20      attorneys, Mr. Chamble and Ms. Fitzgibbons?

      21                  THE DEFENDANT:   Yes, sir.

      22                  THE COURT:   Are you fully satisfied with the

      23      counsel, representation and advice that's been provided to

      24      you in this case by Mr. Chamble and Ms. Fitzgibbons?

      25                  THE DEFENDANT:   I am, sir.




                                           41                             4
USCA4 Appeal: 14-4522    Doc: 12   Filed: 10/09/2014     Pg: 44 of 178



       1                  THE COURT:   All right.       I understand that you

       2      are intending to enter or you've entered a plea in this

       3      case without the benefit of any plea agreement.            Is that

       4      correct?

       5                  THE DEFENDANT:   That is correct, sir.

       6                  THE COURT:   All right.       Now I have in front of

       7      me a letter that was sent to me dated April 2nd from your

       8      attorney, Ms. Fitzgibbons.        Do you have a copy of that

       9      letter there in front of you?

      10                  THE DEFENDANT:   Yes, sir.

      11                  THE COURT:   And I want to go through some of the

      12      provisions of that letter with you.          First of all, is that

      13      your signature dated April 2nd on page 6 of the letter?

      14                  THE DEFENDANT:   Yes, sir.

      15                  THE COURT:   All right.       Now I just want to

      16      review with you some of the contents of this letter.

      17      First of all, you signed this letter and you approved it

      18      and your lawyers sent it to me.          Did you review it before

      19      you signed it?

      20                  THE DEFENDANT:   I did, sir.

      21                  THE COURT:   And you discussed its contents with

      22      your lawyers?

      23                  THE DEFENDANT:   Yes, sir.

      24                  THE COURT:   Do you think you understand the

      25      provisions of this agreement?




                                           42                                   5
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014    Pg: 45 of 178



       1                   THE DEFENDANT:     Yes, sir.

       2                   THE COURT:     All right.     What I want to do is to

       3      go over some of the provisions of this with you.                First of

       4      all, you've indicated that you're entering a plea of

       5      guilty to Counts 1 through 6 of the indictment and that's

       6      been received by the courtroom deputy and noted for the

       7      record.

       8                   Second, I want to make certain if you understand

       9      the potential punishment in this case.            Those penalties

      10      are set forth in paragraph 3 of your letter on page 2.

      11                   Let me ask the government.        Are there any

      12      significant differences between your letter and the

      13      defense letter?

      14                   MS. FREITAS:     Your Honor, there are only a few

      15      sections that are different between our two letters,

      16      specifically forfeiture and restitution.            There's some

      17      language omitted about the consequences of deportation.

      18      But I just don't feel that applies to this defendant as a

      19      citizen.     So other than the -- and of course, the

      20      government provided a guideline calculation.                Defense did

      21      not.      There's not an agreement to it.

      22                   THE COURT:     Okay.

      23                   MS. FREITAS:     Our facts, our statement of facts

      24      are fully, more fully incorporate the acts of the

      25      defendant.      However, the acts articulated by defense




                                              43                                   6
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014    Pg: 46 of 178



       1      counsel certainly allow each of the elements of each of

       2      the six counts to be met.       So for purposes of this

       3      hearing, we are happy to adopt their statement of facts.

       4      We just wanted the Court to be aware that it is not all

       5      encompassing.

       6                 THE COURT:   Okay.     All right.     Well, let me go

       7      through some of the provisions that are set forth in your

       8      attorneys' letter to me to make sure you really do

       9      understand that.

      10                 First of all, do you understand that by statute,

      11      the maximum offense for each offense to which you're

      12      pleading guilty is not less than 15 and not more than 30

      13      years per count.    Do you understand that?

      14                 THE DEFENDANT:    Yes, sir.

      15                 THE COURT:   And do you understanded that all of

      16      those counts are subject to a term of supervised release

      17      of not more than life and a fine of $250,000.             Do you

      18      understand that?

      19                 THE DEFENDANT:    Yes, sir.

      20                 THE COURT:   And you understand that with respect

      21      to each of the counts of conviction, I'm required to

      22      impose a special assessment of $100 per count, which would

      23      be a total of $600 in this case.         Do you understand that?

      24                 THE DEFENDANT:    Yes, sir.

      25                 THE COURT:   Do you understand that if you were




                                           44                                    7
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014    Pg: 47 of 178



       1      to be sentenced to a term of imprisonment by me and then

       2      placed on supervised release at the end of that term of

       3      imprisonment and then were to violate any provision of

       4      supervised release even on the last day, you could be

       5      brought back before me and given still more time in

       6      prison.   Do you understand that?

       7                 THE DEFENDANT:   Yes, sir.

       8                 THE COURT:   Do you understand that in connection

       9      with the imposition of sentence in a federal criminal

      10      case, I have the authority to order you to make an

      11      order -- make restitution to any victims of your crime?

      12      Do you understand that?

      13                 THE DEFENDANT:   Yes, sir.

      14                 THE COURT:   And that is something that will be

      15      determined by me at the time of sentencing in this case

      16      unless there is agreement between the parties as to an

      17      amount for restitution.

      18                 Now I want to discuss with you the rights that

      19      you give up by pleading guilty and they are essentially

      20      set forth in paragraph 4 on page 2 of your attorney's

      21      letter.   But I want to run them by you specifically.

      22      First of all, had you not pled guilty as you're doing this

      23      morning, you would have had a right to a speedy jury trial

      24      with the assistance of competent attorneys such as

      25      Mr. Chamble and Ms. Fitzgibbons.        Do you understand that?




                                          45                               8
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014   Pg: 48 of 178



       1                  THE DEFENDANT:     Yes, sir.

       2                  THE COURT:    And unless everybody here, meaning

       3      you, the government and I, all three of us were to agree

       4      that it could be a nonjury trial, it would have to be a

       5      jury trial.     The bottom line is you are in the driver's

       6      seat.     If you want a jury trial, you will have one.

       7                  Now in order to provide you with the right of

       8      trial by jury, we would bring prospective jurors into this

       9      courtroom to be considered for service as jurors in your

      10      case.     Those prospective jurors would be placed under oath

      11      and asked a lot of questions by me with followup questions

      12      by the lawyers.      That process is described as a voir dire

      13      examination, which in French means to tell the truth.

      14      That process is designed to develop information that the

      15      parties and I can then use to decide whether one or more

      16      of those potential jurors should be excused for cause

      17      meaning that some reason why that juror could not be fair

      18      and impartial to both sides.        And that information would

      19      also be used by the parties to make a decision to exercise

      20      what are called peremptory strikes.          Each side has the

      21      right in a criminal case to excuse a certain number of

      22      jurors for no reason at all which is called a peremptory

      23      strike.     And there is no limit on the number of jurors who

      24      can be challenged by either side for cause.            As I've just

      25      explained to you, that means that there is a reason that a




                                             46                                9
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014    Pg: 49 of 178



       1      juror might not be able to be fair and impartial to both

       2      sides.

       3                 Once we finish the process of jury selection, we

       4      would place twelve jurors in the box to your right and

       5      they would be placed under another oath to be fair and

       6      impartial jurors in your case.        They would be told a

       7      number of things by me as in preliminary instructions that

       8      they would be obligated to follow.        They would be first of

       9      all told that you are presumed to be innocent and that

      10      presumption of innocence would remain with you until the

      11      conclusion of their deliberations.        They would also be

      12      told that they could not return a verdict of guilt on any

      13      count unless two conditions were to exist.          First of all,

      14      they would have to be unanimous in their decision that

      15      you're guilty on one or more counts.        In other words,

      16      there is no such thing as a majority verdict.            They would

      17      all have to agree upon it.        Secondly, they would have to

      18      be satisfied that the government had proven your guilt

      19      beyond a reasonable doubt, which is the highest level of

      20      proof in our court system.        In order for the government to

      21      meet its heavy burden of proving your guilt beyond a

      22      reasonable doubt, they would be required to call to the

      23      witness stand their witnesses to testify against you.

      24      That would then trigger a very important constitutional

      25      right called the right of confrontation and




                                           47                                 10
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 50 of 178



       1      cross-examination, which in simple terms means that those

       2      government witnesses would not go unchallenged and that

       3      your lawyers could ask them a lot of questions.               Do you

       4      understand that?

       5                  THE DEFENDANT:     Yes, sir.

       6                  THE COURT:    Now in a criminal trial, the burden

       7      of proof never shifts to you to prove that you're

       8      innocent.     That burden remains on the government to prove

       9      your guilt beyond a reasonable doubt and that burden never

      10      shifts to you.      You have no obligation to prove that

      11      you're innocent and you cannot be compelled to testify

      12      against yourself unless you voluntarily decide to do so.

      13      Do you understand that?

      14                  THE DEFENDANT:     Yes, sir.

      15                  THE COURT:    Now because of that, you have no

      16      obligation to put on a defense or call any witnesses

      17      whatsoever.     However, you could decide to put on a defense

      18      and call witnesses and that would trigger another

      19      important constitutional right called the right of

      20      compulsory process which in simple terms means that you

      21      would have the right to have the clerk of this court issue

      22      subpoenas that would then be served on persons you

      23      identify who would then be required to come here and

      24      testify for you even if they didn't want to.               Do you

      25      understand that?




                                             48                                   11
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 51 of 178



       1                  THE DEFENDANT:    Yes, sir.

       2                  THE COURT:   You understand that if I accept your

       3      plea today, there would be no further proceedings of any

       4      kind.     All that would remain is to bring you back here for

       5      sentencing.     Do you understand that?

       6                  THE DEFENDANT:    Yes, sir.

       7                  THE COURT:   Has anybody threatened you or tried

       8      to force you to plead guilty?

       9                  THE DEFENDANT:    No, sir.

      10                  THE COURT:   And you understand that if you were

      11      found guilty after a trial or even after entering your

      12      plea of guilty in this case, you have a right to appeal

      13      your conviction and sentence to the United States Court of

      14      Appeals for the Fourth Circuit, which is the federal

      15      appellate court that has jurisdiction over decisions of

      16      this court and there would be no restrictions on issues

      17      you could raise in connection with that appeal.           Do you

      18      understand that?

      19                  THE DEFENDANT:    Yes, I do, sir.

      20                  THE COURT:   You understand that the offenses to

      21      which you're pleading guilty are felonies.           And that if I

      22      accept your plea and you're adjudged guilty of those

      23      offenses, that those adjudications may deprive you of

      24      valuable civil rights, such as the right to vote, the

      25      right to hold public office, the right to serve on a jury,




                                            49                               12
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014     Pg: 52 of 178



       1      and the right to possess any kind of firearm.               Do you

       2      understand that?

       3                   THE DEFENDANT:     Yes, sir.

       4                   THE COURT:   Ms. Fitzgibbons, have all plea

       5      offers by the government been communicated to the

       6      defendant?

       7                   MS. FITZGIBBONS:        Yes, Your Honor.

       8                   THE COURT:   Do you understand that conviction

       9      for the offenses involved in this case will likely result

      10      in substantial future restrictions on where you may live

      11      or work and with whom you may associate?

      12                   THE DEFENDANT:     Yes, sir.

      13                   THE COURT:   Going back to the prospect of a

      14      trial, do you understand that in your own defense, you

      15      could take the stand and testify just like any other

      16      ordinary witness.     But if you were to not testify, I would

      17      specifically instruct the jury that they could not infer

      18      anything adverse to you as a result of your decision not

      19      to testify.     Do you understand that?

      20                   THE DEFENDANT:     Yes, sir.

      21                   THE COURT:   Now in this case, your attorneys'

      22      letter to me mentions the applicability of the sentencing

      23      guidelines, but does not discuss how they might actually

      24      be applied in your case.        The government's letter, on the

      25      other hand, gives their view of how the guidelines might




                                              50                                   13
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014     Pg: 53 of 178



       1      be applied.     Are you aware of that?

       2                   THE DEFENDANT:     Yes, sir.

       3                   THE COURT:     Have you seen the government's

       4      letter to me?

       5                   THE DEFENDANT:     Yes, sir.

       6                   THE COURT:     All right.    Well, let me discuss

       7      with you the sentencing guidelines and let's talk about

       8      them in several respects.        First of all, how they work

       9      generally.     Secondly, how they might apply in this case

      10      based on the government's view of it, which is not

      11      necessarily binding on you in any sense.            And third, what

      12      role they will actually play in deciding what your

      13      sentence should be.

      14                   The sentencing guidelines require that I make a

      15      determination of what your offense level is and what your

      16      criminal history category is and that then produces a

      17      range of sentence that's recommended to me expressed in

      18      months, not years.        In general, the higher the offense

      19      level, the more serious the offense.           And in general, the

      20      higher the criminal history category, the more serious the

      21      person's criminal record may be.

      22                   Now I put on the table in front of you there the

      23      table from the U.S. Sentencing Guidelines.             And as you can

      24      see, it begins with offense level 1 and goes up to 43,

      25      going from the top to the bottom of the page on the left




                                              51                               14
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014     Pg: 54 of 178



       1      hand side.     And with regard to criminal history category,

       2      I think it needs to be pulled down a little bit, Ms.

       3      Freitas, so we can see that part.           It has criminal history

       4      categories that go from 1 to 6.           Do you see that?

       5                   THE DEFENDANT:     Yes, sir.

       6                   THE COURT:     Now as I said, in general, the worse

       7      a person's record is, the higher the criminal history

       8      category.     Now let me take something that has nothing to

       9      do with your case and show you how it works.                If I were to

      10      conclude at the time of sentencing that your offense level

      11      was 21 and your Criminal History Category was 3, do you

      12      see where those two columns intersect?            It says 46-57.

      13                   THE DEFENDANT:     Yes, sir.

      14                   THE COURT:     That would be the recommended range

      15      of sentence expressed in months, not years.             Do you

      16      understand that?

      17                   THE DEFENDANT:     Yes, sir.

      18                   THE COURT:     Now in this case, there is no

      19      agreement between the parties as to how the guidelines

      20      should be applied.        There is, however, a position set

      21      forth by the government in its letter to me of April 16

      22      and they --

      23                   MS. FREITAS:     On page 7, Your Honor.

      24                   THE COURT:     Page 7.   Their view of the

      25      application of the guidelines begins on page 5 in




                                              52                                  15
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014   Pg: 55 of 178



       1      paragraph 12.       And I'm not going to walk you through the

       2      whole thing, but they basically believe that after

       3      applying the guidelines and grouping the counts together,

       4      that they believe the combined offense level would be a

       5      50, which is higher than the highest level under the

       6      guidelines, which is 43.        Do you understand that?

       7                 THE DEFENDANT:       Yes, sir.

       8                 THE COURT:      So that would essentially amount to

       9      a life sentence in terms of a recommendation.               Do you

      10      understand that?

      11                 THE DEFENDANT:       Yes, sir.

      12                 THE COURT:      Now I can't tell you today what my

      13      application of the guidelines will be.            That is only going

      14      to be determined after we go through a process that

      15      involves the preparation of a presentence report by a

      16      probation officer, its presentation to both sides to make

      17      any objection that they wish to make.           It's placed in

      18      final form.     Comes before me at the time of the sentencing

      19      and at the time of sentencing, I then consider the

      20      arguments of either side and make a final decision on what

      21      your offense level is.       Then and only then do I have in

      22      front of me what that will be.          So the government's view

      23      may be -- the government's view it may not be what I

      24      conclude the offense level should be.           Do you understand

      25      that?




                                              53                                   16
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014    Pg: 56 of 178



       1                  THE DEFENDANT:     Yes, sir.

       2                  THE COURT:     And there are a variety of

       3      circumstances under which offense levels can be changed

       4      upward or down under the guidelines and there's also

       5      procedures for adjustments to the guidelines for what are

       6      called departures.       I'm not going to go into detail on all

       7      of those procedures, but there are -- there is room for

       8      disagreement between the parties.          The government's

       9      position is its position and you're not obligated by their

      10      position.     But their position is that you are beyond the

      11      highest level in the guidelines.          Do you understand that?

      12                  THE DEFENDANT:     Yes, sir.

      13                  THE COURT:     Now you'll notice that the first

      14      time that the guidelines are mentioned, it refers to them

      15      as advisory guidelines.       That's what your lawyer's letter

      16      says to me.     And that's the normal way it's referred to in

      17      plea agreements.     I want to explain to you why that word

      18      "advisory" is there and this is what I told was the third

      19      thing I wanted to talk to you about the guidelines, which

      20      is what role they will actually play.

      21                  And Congress in this case has set forth certain

      22      ranges of punishment with minimums and maximums that I've

      23      already reviewed with you.          In terms of determining what

      24      the actual sentence is subject to the congressional

      25      requirements of a mandatory minimum and a maximum, I'm




                                             54                             17
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 57 of 178



       1      required to impose a sentence that will be sufficient, but

       2      not greater than necessary to comply with the purposes of

       3      sentencing that are set forth in Section 3553 of Title 18

       4      of United States Code.

       5                 Now that section used to have in it the

       6      provision that mandated that all sentences in federal

       7      criminal cases be within the ranges established by

       8      application of these guidelines under most, but not all

       9      circumstances.      That mandatory aspect of the guidelines

      10      was struck down in a pair of decisions of the Supreme

      11      Court of the United States in 2005.          In the wake of those

      12      decisions, the guidelines are still alive and well and I

      13      am required to and will apply those guidelines, which will

      14      then produce as I've explained to you a potential range of

      15      sentence that's recommended for your case.

      16                 I am not obligated to follow the guidelines.            In

      17      fact I'm not even to give them a presumption of

      18      correctness.     But I am required to consider the resultant

      19      recommended sentence by application of the guidelines.             I

      20      respect it in the sense that it represents the collective

      21      wisdom of the members and staff of the United States

      22      Sentencing Commission.      But I give it no presumption of

      23      correctness and I'm not obligated to follow it.            It's

      24      advisory only.

      25                 What I am required to do is to follow federal




                                             55                                 18
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014   Pg: 58 of 178



       1      law.      And federal law has some general requirements that

       2      govern what I do in determining your sentence.             They are

       3      set forth, as I said, in Section 3553(A) of Title 18 of

       4      the United States Code.       That section generally requires

       5      that I impose a sentence that will be sufficient, but not

       6      greater than necessary to comply with the purposes of

       7      sentencing.      So let me review those with you.

       8                   I am, first of all, required to consider the

       9      need for the sentence imposed to reflect the seriousness

      10      of the offense, to promote respect for the law and to

      11      provide just punishment for the offense, to afford

      12      adequate deterrence to criminal conduct, to protect the

      13      public from further crimes of the defendant and to provide

      14      the defendant with needed educational or vocational

      15      training, medical care or other correctional treatment in

      16      the most effective manner.          I'm required to consider the

      17      kinds of sentences available, the need to avoid

      18      unwarranted sentence disparities among defendants with

      19      similar records who have been found guilty of similar

      20      conduct, the need to provide restitution of any victims of

      21      the offense.      Those are the factors that I must and will

      22      consider in connection with the imposition of sentence in

      23      your case.      Do you understand that?

      24                   THE DEFENDANT:    Yes, sir.

      25                   THE COURT:   And as I said, I will consider it --




                                             56                                19
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014   Pg: 59 of 178



       1      I'm bound by those factors I will consider, but give no

       2      presumption of correctness to the range of sentence

       3      developed by application of sentencing guidelines.

       4                   Now in your letter that you signed and your

       5      lawyer submitted to me, there's a factual stipulation

       6      that's set forth in paragraph 6 on pages 3, 4 and 5 of

       7      that letter.     You indicated to me already you've read this

       8      letter and reviewed it with your lawyers.              Is that right?

       9                   THE DEFENDANT:      Yes, sir.

      10                   THE COURT:     And is the factual statement

      11      contained in here correct?

      12                   THE DEFENDANT:      Yes, sir.

      13                   THE COURT:     Let me first go back to paragraph I

      14      think it's 2 of your letter and tell you what that is

      15      there for.     This is the one entitled Elements of the

      16      Offense.     I want to explain to you why that's important.

      17      Elements of the Offense is an enumeration of the essential

      18      facts that any prosecutor prosecuting any defendant for

      19      the crimes charged in the indictment in this case would

      20      have to prove beyond a reasonable doubt in order to secure

      21      a conviction.        It's not specific to you.       It's general.

      22      All prosecutors would have to do this with all defendants

      23      charged with these crimes.            Do you understand that?

      24                   THE DEFENDANT:      Yes, sir.

      25                   THE COURT:     Now in order for me to accept a




                                               57                               20
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014    Pg: 60 of 178



       1      guilty plea, I have to have a basis to find you guilty.                I

       2      cannot simply accept a guilty plea by somebody walking

       3      into my courtroom and saying judge, I'm guilty.             I have to

       4      have a basis to find you guilty.        Now that could result

       5      from putting the whole case on, but in guilty pleas

       6      typically that's done some other ways such as the

       7      government making a proffer of what it expects to prove or

       8      the parties reaching an agreement on certain facts that

       9      may be pertinent or as in this case, you are agreeing to

      10      certain facts that you believe are true and correct.              So I

      11      will ask you are the facts set forth in paragraph 6 of

      12      your letter on pages 3, 4 and 5 true and correct?

      13                 THE DEFENDANT:   Yes, sir.

      14                 THE COURT:   Now if the facts set forth in those

      15      paragraphs are true and correct and that they satisfy the

      16      elements of the offenses set forth in paragraph 2, then I

      17      can accept your plea.    Otherwise, I cannot.        Now I'm not

      18      going to read this to you because you've indicated that

      19      you have a college degree and you've read it and you

      20      understand it and your lawyers have read it.             But it

      21      basically indicates that you are a resident of Lusby,

      22      Maryland, that you engaged in numerous online chats with

      23      an undercover officer, that you sent images of pornography

      24      which you have produced and it goes on to indicate that

      25      there was an arrest.    Numerous items were seized as a




                                          58                                    21
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014     Pg: 61 of 178



       1      result of that arrest.       And a number of devices were

       2      seized from the computer containing digital images.            Other

       3      matters were taken including sleeping aids, generic sleep

       4      aid, a pair of handcuffs and child-sized lingerie.          And

       5      then a forensic examination was done on the digital media

       6      in your possession and numerous images were found that had

       7      been produced by you.     And then there is a list of

       8      examples of images that are referred to in paragraphs A

       9      through F on page 4 of the letter.         I am not going to go

      10      through each and every one of them, but they are graphic

      11      descriptions of child pornography.         Do you understand

      12      that?

      13                  THE DEFENDANT:     Yes, sir.

      14                  THE COURT:   And the bottom line is that a

      15      forensic examination.     You had over 4,000 images of child

      16      pornography, not produced by you, but downloaded from the

      17      Internet.    And that the computers and hard drives you used

      18      to save, store and transport them were not manufactured in

      19      the State of Maryland and therefore traveled in interstate

      20      commerce.    Do you understand that?

      21                  THE DEFENDANT:     Yes, sir.

      22                  THE COURT:   Now you understand that the

      23      government takes the position that it has additional facts

      24      that it would prove beyond those set forth in your plea

      25      letter to me, but they've indicated to me that while they




                                             59                               22
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 62 of 178



       1      have additional facts they could prove, that the facts

       2      that you're admitting to in your letter are sufficient to

       3      satisfy the elements of the six counts to which you're

       4      pleading guilty.    Do you understand that?

       5                 THE DEFENDANT:    Yes, sir.

       6                 THE COURT:   I'm entitled to consider additional

       7      information and may do so at the time of sentencing.        Do

       8      you understand that?

       9                 THE DEFENDANT:    Yes, sir.

      10                 THE COURT:   Now in this case, there's no

      11      agreement between you and the government as to your

      12      criminal history and as you have seen from that chart,

      13      depending on where I come out on offense level, this could

      14      have an impact on your sentence depending on where you are

      15      going from left to right on that table from 1 to 6 using

      16      Roman numerals.

      17                 You understand that as a consequence of your

      18      conviction, you will be required to register as a sex

      19      offender and keep that registration current in the place

      20      where you reside, employed or a student in accordance with

      21      the provisions of federal law.       Do you understand that?

      22                 THE DEFENDANT:    Yes, sir.

      23                 THE COURT:   The government in its letter to me

      24      in paragraph 10 on pages 4 and 5 has included provisions

      25      relating to forfeiture and restitution.         I already




                                           60                             23
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 63 of 178



       1      discussed with you generally the right that I have to make

       2      an order of restitution and that will be something I have

       3      to determine at the time of your sentencing.              Do you

       4      understand that?

       5                 THE DEFENDANT:     Yes, sir.

       6                 THE COURT:    And in paragraph 10 on page 4, the

       7      government has indicated they are going to request that I

       8      order you to forfeit to the government, in other words,

       9      these matters will become government property, all the

      10      matters set forth in paragraphs 10-A, -B and -C as set

      11      forth on page 4 of your plea letter.         Do you understand

      12      that?

      13                 THE DEFENDANT:     Yes, sir.

      14                 THE COURT:    So essentially at the time of

      15      sentencing they will become government property.              Do you

      16      understand that?

      17                 THE DEFENDANT:     Yes, sir.

      18                 THE COURT:    And you do understand that if I

      19      accept your plea today, there will be no further

      20      proceedings of any kind.      All that will remain is to bring

      21      you back here for sentencing.       Do you understand that?

      22                 THE DEFENDANT:     Yes, sir.

      23                 THE COURT:    Are you pleading guilty because you

      24      are in fact guilty?

      25                 THE DEFENDANT:     Yes, sir.




                                            61                                   24
USCA4 Appeal: 14-4522    Doc: 12   Filed: 10/09/2014     Pg: 64 of 178



       1                  THE COURT:     Is there anything about the

       2      proceedings today that you do not understand?

       3                  THE DEFENDANT:     No, sir.

       4                  THE COURT:     All right.     Ms. Freitas, anything

       5      else you want to bring to the Court's attention before I

       6      proceed?

       7                  MS. FREITAS:     No, Your Honor.      I believe the

       8      Court has covered everything in both letters.

       9                  (Bench conference:)

      10                  (It is the policy of this court that every

      11      guilty plea and sentencing proceeding include a bench

      12      conference concerning whether the defendant is or is not

      13      cooperating.)

      14                  (In open court:)

      15                  THE COURT:     Okay.    All right.    It is my finding

      16      in the case of United States of America versus William

      17      Gazafi that he is fully competent and capable of entering

      18      an informed plea, that he is aware of the nature of the

      19      charges and the consequences of his plea and that his plea

      20      of guilty to Counts 1 through 6 of the indictment is a

      21      knowing and voluntary plea supported by an independent

      22      basis in fact containing each of the essential elements of

      23      the offenses charged in those counts of the indictment.                I

      24      therefore accept your plea and you're now adjudged guilty

      25      of those offenses.




                                             62                                 25
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014    Pg: 65 of 178



       1                  Now let me review with you the process that will

       2      be followed to prepare for your sentencing.             Does either

       3      side think I should have more than one hour set aside for

       4      sentencing?

       5                  MS. FREITAS:     Your Honor, the government is

       6      requesting two hours.       We have five victims and the

       7      families are all going to speak.           I certainly don't want

       8      to interfere with the Court's trial schedule, but one of

       9      the families is getting reassigned by the military and is

      10      leaving in early August and we were hoping for a slot in

      11      July.     I know your calendar is pretty booked with trial --

      12                  THE COURT:     Well, I'm allegedly a senior judge.

      13      Did you know that?

      14                  MS. FREITAS:     I was not aware of that, Your

      15      Honor.

      16                  THE COURT:     Congress has not yet cooperated with

      17      my replacement.      So I have the highest caseload of anybody

      18      in the District of Maryland right now.            So getting in my

      19      calendar is not easy.

      20                  MS. FREITAS:     I know that, Your Honor.        And I

      21      certainly don't want to interfere with trial, particularly

      22      given that --

      23                  THE COURT:     Well, let me see what I can find for

      24      you.

      25                  MS. FREITAS:     -- one is my co-counsel's.




                                             63                                26
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014    Pg: 66 of 178



       1                 THE COURT:     Under the sentencing order that I

       2      have in front of me, the final presentence report will be

       3      coming in in early July.      So I need to find some time --

       4      and when is this person leaving?

       5                 MS. FREITAS:     The family is moving in early

       6      August.   They didn't give me an exact date.          She's advised

       7      for early August, which I know is a very tight window.

       8                 THE COURT:     Let me see what I got.          What date in

       9      August are they leaving?

      10                 MS. FREITAS:     They told me early August, Your

      11      Honor.    I think we're probably safe the first week, but I

      12      don't want to gamble that it's not the second week.

      13                 THE COURT:     How about July 30th?

      14                 MS. FITZGIBBONS:        I'm sorry, Your Honor.       I have

      15      plane tickets and I will be out that week.

      16                 THE COURT:     The whole week?

      17                 MS. FITZGIBBONS:        The whole week.

      18                 THE COURT:     Mr. Chamble won't do?

      19                 MS. FITZGIBBONS:        No, I don't think so, Your

      20      Honor, with all respect to Mr. Chamble.

      21                 (Laughter.)

      22                 THE COURT:     You're not essential, Mr. Chamble.

      23                 (Laughter.)

      24                 MS. FITZGIBBONS:        We were also looking at -- I

      25      know June may be a little early given what the Court --




                                            64                                  27
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014    Pg: 67 of 178



       1                  THE COURT:     The presentence report won't be

       2      ready until July 1.

       3                  MS. FREITAS:     I think, Your Honor, we'll work

       4      with Mr. Tabersky to make it happen if it's necessary I

       5      think.

       6                  THE COURT:     Is he here?     We're talking about

       7      you, Mr. Tabersky.       Can you go faster than the schedule?

       8                  MR. TABERSKY:     Yes, Your Honor.

       9                  THE COURT:     All right.     Let me see what I can

      10      find.     What about June 23rd at 1?

      11                  MS. FREITAS:     That works for the government,

      12      Your Honor.

      13                  MR. CHAMBLE:     I actually have a sentence with

      14      the Court on June 23rd at noon -- at 11.

      15                  THE COURT:     At 11, yes.

      16                  MR. CHAMBLE:     Similar, but --

      17                  THE COURT:     So you'll be available.         How about

      18      Ms. Fitzgibbons?

      19                  MR. CHAMBLE:     That's fine.

      20                  MS. FITZGIBBONS:        Yes, Your Honor.

      21                  THE COURT:     What I have on my schedule right now

      22      on that date is a large multi-defendant death eligible

      23      case motions hearing.       But when that was set, there were

      24      like three defendants and it's now got six or seven

      25      defendants that were just brought into the case.              So I




                                             65                                    28
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014     Pg: 68 of 178



       1      think that hearing is going to have to move because of

       2      necessity of new defendants.           So I can set it for that

       3      date, subject to Mr. Tabersky having to go on a fast

       4      track.     But I think I have a conference call in that case

       5      coming up pretty soon.       And if for some reason it doesn't

       6      move, I'll have to revisit the time of the sentencing with

       7      you.

       8                  Let me see what I can do to make this process

       9      work.     Mr. Tabersky, this is your life we're talking

      10      about.     How much faster than June 3rd can you do for a

      11      first cut of the presentence report?

      12                  MR. TABERSKY:        Your Honor, I'll accommodate

      13      whatever the Court --

      14                  THE COURT:     No.     It's your life.     I don't want

      15      to ruin your life.       Let me look at my calendar as to dates

      16      that might make it go faster.           If it's now due June 3rd

      17      and we want to get this sentencing in in June, it is going

      18      to have to be in May.       Would May 9th work?

      19                  MR. TABERSKY:        I'm not sure I can get it done by

      20      May 9th, Your Honor.

      21                  THE COURT:     How about the 16th?        I'm negotiating

      22      with you.

      23                  MR. TABERSKY:        That would be better, Your Honor.

      24                  THE COURT:     That would be better.        All right.

      25      May 16th.     All right.    Okay.      I think this will work.       All




                                                66                              29
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014    Pg: 69 of 178



       1      right.    I think we are going to have to go pretty fast in

       2      this case because it's going to result in -- if I'm

       3      putting the normal gaps between things and I'm going to

       4      clean this order up and make it look better when I'm

       5      finished.

       6                   MR. CHAMBLE:     Just so the Court knows, Your

       7      Honor, we have a lot of records already that we could make

       8      available to probation to expedite matters.

       9                   THE COURT:     Okay.

      10                   MS. FREITAS:     And I think a lot of what he'll

      11      need he can cut and paste from what the government has

      12      done as well.       So I think --

      13                   THE COURT:     Okay.     Well, let me just review the

      14      dates I'm putting in right now and see if this causes any

      15      heartburn.     Mr. Tabersky has graciously agreed to ruin his

      16      month of May and get this in by May 16th.              If I give the

      17      parties -- can you go faster than two weeks to submit

      18      objections to him?

      19                   MS. FREITAS:     Yes, we can, Your Honor.

      20                   MS. FITZGIBBONS:        Yes, Your Honor.

      21                   THE COURT:     All right.      Well, then let me

      22      compress that to give a little more room here.               Let me

      23      make the date for objections be May 23rd, which will be

      24      one week and then we could get the final version in by

      25      May 30th.     Maybe give it a little bit longer for




                                              67                                    30
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014    Pg: 70 of 178



       1      Mr. Tabersky.        How about I give until May 27th?          If that's

       2      the date that the final PSR arrives, then I think we could

       3      have a rational schedule for submission of things to me

       4      that would be -- how about if I make the date for

       5      submission of any witnesses and sentencing memorandum be

       6      June 4 and opposition June 11th?             Will that work?

       7                  MS. FREITAS:      Yes, Your Honor.

       8                  MS. FITZGIBBONS:          That's fine, Your Honor.

       9                  THE COURT:      Okay.      All right.    I'm going to have

      10      Ms. Merez prepare a not-so-messed-up version of this.

      11                  Now I have a conference call coming up in this

      12      other multi-defendant death eligible gang case and I don't

      13      think there will be a problem.            But if there is, I will

      14      get you on the phone for a conference call and we will

      15      pick another date.        But I think this will work and I

      16      express the Court's appreciation to Mr. Tabersky for

      17      getting this moving along quicker.

      18                  MS. FREITAS:      Thank you, Your Honor.

      19                  THE COURT:      And if you wait just a moment,

      20      Ms. Merez is going to prepare a clean order and we can get

      21      that to you.

      22                  Okay.     I will just review it with you again.

      23      The date for the initial disclosure of the PSR will be May

      24      16th.     The date for any objections to it will be May 23rd.

      25      The date for the final submission from Mr. Tabersky will




                                               68                                 31
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 71 of 178



       1      be May 27th.     And the date for disclosure of witnesses and

       2      any sentencing memorandum will be June 4 and the date for

       3      any responsive memorandum will be June 11.           And then we

       4      will have sentencing on June 23rd at 1.

       5                 All right.     We will see you on June 23rd.       Thank

       6      you very much.

       7                 MS. FREITAS:     Thank you, Your Honor.

       8                 (The proceedings were concluded.)

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25




                                            69                               32
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 72 of 178



       1                            CERTIFICATE OF REPORTER

       2

       3                 I, Lisa K. Bankins, an Official Court Reporter

       4      for the United States District Court for the District of

       5      Maryland, do hereby certify that I reported, by machine

       6      shorthand, in my official capacity, the proceedings had

       7      and testimony adduced upon the guilty plea in the case of

       8      the United States of America versus William S. Gazafi,

       9      Criminal Action Number RWT-13-0472, in said court on the

      10      21st day of April, 2014.

      11                 I further certify that the foregoing 32 pages

      12      constitute the official transcript of said proceedings, as

      13      taken from my machine shorthand notes, together with the

      14      backup tape of said proceedings to the best of my ability.

      15                In witness whereof, I have hereto subscribed my

      16      name, this 17th day of August, 2014.

      17

      18

      19                                       Lisa K. Bankins

      20                                       Lisa K. Bankins
                                               Official Court Reporter
      21

      22

      23

      24

      25




                                          70                             33
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014   Pg: 73 of 178



       1                       UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
       2                            SOUTHERN DIVISION

       3      UNITED STATES OF AMERICA             Criminal No.      RWT-13-0472

       4                v.                         Greenbelt, Maryland

       5      WILLIAM S. GAZAFI,                   June 23, 2014

       6                     Defendant.            1:00 p.m.

       7      --------------------------/

       8                               TRANSCRIPT OF SENTENCING
                                  BEFORE THE HONORABLE ROGER W. TITUS
       9                              UNITED STATES DISTRICT JUDGE

      10      APPEARANCES:

      11      For the Government:       United States Department of Justice
                                        By: LISAMARIE FREITAS, ESQUIRE
      12                                1400 New York Ave NW
                                        Suite 600
      13                                Washington, D.C. 20005

      14                                United States Attorney's Office
                                        By: THOMAS M. SULLIVAN, ESQUIRE
      15                                6500 Cherrywood Lane
                                        Suite 200
      16                                Greenbelt, Maryland 20770

      17      For the Defendant:        Office of the Federal Public Defender
                                        By: AMY S. FITZGIBBONS, ESQUIRE
      18                                    JOHN CHAMBLE, ESQUIRE
                                        6411 Ivy Lane
      19                                Suite 710
                                        Greenbelt, Maryland 20770
      20

      21      Court Reporter            Lisa K. Bankins RMR
                                        United States District Court
      22                                6500 Cherrywood Lane
                                        Greenbelt, Maryland 20770
      23

      24      Proceedings recorded by mechanical stenography,
              transcript produced by notereading.
      25




                                              71                                   1
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014     Pg: 74 of 178



       1                              P R O C E E D I N G S

       2                 MS. FREITAS:     Good afternoon, Your Honor.        The

       3      Government calls the case of United States of America

       4      versus William Gazafi, Criminal Number RWT-13-0472.

       5      LisaMarie Freitas and Thomas Sullivan for the government.

       6      Also with us at counsel table is FBI Special Agent

       7      Jacqueline Dougher and we are here for sentencing.

       8                 THE COURT:     Good afternoon.

       9                 MS. FITZGIBBONS:        Good afternoon, Your Honor.

      10      Amy Fitzgibbons with the Federal Public Defender Service

      11      on behalf of Mr. William Sean Gazafi.         I am joined at

      12      counsel table by Mr. John Chamble also from my office.

      13                 THE COURT:     Good afternoon.     All right.     Let

      14      me -- yes, sir?

      15                 MR. CHAMBLE:     I'm sorry, Your Honor.        Before we

      16      proceed, may we approach the bench?

      17                 THE COURT:     You may.

      18                 (Bench conference:)

      19                 THE COURT:     Mr. Gazafi, if you can hear me,

      20      raise your right hand.      Okay.     All right.    Go ahead, sir.

      21                 MR. CHAMBLE:     Your Honor, my only concern is the

      22      focus of this sentencing is what is a appropriate

      23      punishment and there's very little factual dispute between

      24      the government and the defense.         I notice that the

      25      government has a number of exhibits, they intend to call




                                            72                                   2
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014    Pg: 75 of 178



       1      certain witnesses, which I'm mystified as to the purpose

       2      since there's nothing in dispute.         I'm fearful of

       3      unnecessary theater and prolonging this sentencing more

       4      than necessary given that we're not disputing the

       5      essential facts of the case.       So that's my concern.

       6                 MS. FREITAS:     Certainly, Your Honor.        Actually,

       7      this was not a plea agreement.         This was the defendant

       8      pleading straight up to the indictment and as such, all of

       9      the facts that were incorporated in the plea agreement we

      10      offered came into evidence through the defendant's plea

      11      letter and the facts that they agreed to first.            Secondly,

      12      Your Honor, the government has a right pursuant to the

      13      3553 factors and 3661 to present the full scope of the

      14      nature and circumstances of the offense.          And furthermore,

      15      of course, Your Honor, we need to set a clear record of

      16      the circumstances of the offense.         We do have two

      17      witnesses and our purpose is very brief testimony to make

      18      sure our evidence is securely in the record, Your Honor,

      19      and then argument.

      20                 THE COURT:     All right.     Well, this is set for

      21      two hours and I've got a case after this.           So we need to

      22      stay within the parameters of the case and I want to make

      23      sure the defense has plenty of time to put their position

      24      on.   So streamline it as best you can.         I recognize you

      25      have the right to put your case on and I'm not going to




                                            73                                  3
USCA4 Appeal: 14-4522    Doc: 12   Filed: 10/09/2014        Pg: 76 of 178



       1      tell you you can't do that.             But try to be as efficient as

       2      you can.

       3                  MS. FREITAS:     Yes.        We will, Your Honor.

       4                  (In open court:)

       5                  THE COURT:     All right.        Let me first begin by

       6      confirming with both counsel that you've had a chance to

       7      review the presentence report and in the case of the

       8      defense to review it with the defendant.              Is that correct?

       9                  MS. FITZGIBBONS:           We have, Your Honor.     We have.

      10                  THE COURT:     All right.

      11                  MS. FREITAS:     We have, Your Honor.

      12                  THE COURT:     Yes.        Are there any disputes between

      13      the parties as to the factual content of the presentence

      14      report only?

      15                  MS. FITZGIBBONS:           No, Your Honor.

      16                  MS. FREITAS:     No, Your Honor.

      17                  THE COURT:     All right.        And any dispute with

      18      respect to the probation officer's recommendation that I

      19      find the offense level to be 47 and that's after

      20      adjustment for acceptance of responsibility and a Criminal

      21      History Category of 1.       Any dispute about that?

      22                  MS. FITZGIBBONS:           Your Honor, I don't dispute

      23      that the offense level is 47.             I would object to the

      24      stacking of the punishments, which I think I laid out in

      25      my sentencing memorandum.




                                                74                                 4
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014     Pg: 77 of 178



       1                   THE COURT:   Oh, I understand that.            But the

       2      recommendation is that I find the combined offense level

       3      for all the counts in this case to be 47.             Is there an

       4      objection to that?

       5                   MS. FITZGIBBONS:        No.

       6                   THE COURT:   All right.       And I recognize that you

       7      are suggesting that I ought to take the statutory maximum

       8      and not multiply it any number of times.            The probation

       9      officer's recommendation is that because the sentencing

      10      guidelines were calculated out to life, that the only way

      11      to replicate that is with a sentence that equates to life.

      12      That's essentially what the probation officer's

      13      recommendation is.

      14                   All right.   Well, I will adopt for guideline

      15      purposes the contents of the presentence report as my

      16      factual findings.     I will adopt for guideline purposes

      17      that the offense level is 47, Criminal History Category 1,

      18      which produces a recommended range of sentence of life.

      19      But because that's in excess of the statutory maximum for

      20      each count, the guideline range ends up being 360 months

      21      per count.     And the probation officer has recommended

      22      combining the first two counts to produce a 720-month

      23      sentence and then the rest of the counts concurrent.

      24                   Now I have reviewed the sentencing memorandum

      25      submitted by the government as well as by the defense,




                                              75                                    5
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014    Pg: 78 of 178



       1      including the letter received -- including a letter

       2      received on Friday from the Public Defender with the

       3      defendant's statement to me.       I've also received by way of

       4      attachments to the government's memorandum victim impact

       5      statements.    Is there any desire for any victims to

       6      address the Court today?

       7                 MS. FREITAS:     Yes, Your Honor.      There are.         We

       8      have the parents of Victims 1 through 4 present and they

       9      would like to provide statements.

      10                 THE COURT:     All right.     Have them come forward.

      11                 MS. FREITAS:     Certainly, Your Honor.          I will

      12      have the -- go victim by victim, Your Honor.              Victim 1.

      13                 THE COURT:     You may proceed.

      14                 MS. FREITAS:     Thank you, Your Honor.

      15                 THE WITNESS:     There is no way --

      16                 THE COURT:     Could you first identify yourself,

      17      ma'am, with your name?

      18                 THE WITNESS:     My name is Christine.

      19                 THE COURT:     All right.     Thank you.

      20                 THE WITNESS:     There is no way to describe the

      21      amount of dread that I have experienced at the thought of

      22      coming to face the person who has committed one of the

      23      most severe acts of betrayal imaginable.          However, someone

      24      must give my daughter a voice in this.          And as her mother,

      25      that responsibility falls to me.




                                            76                                      6
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 79 of 178



       1                   This entire experience has been a living

       2      nightmare.     Learning that your child has been a victim of

       3      sex abuse is the worst thing to have to face, second only

       4      to losing them altogether.          It is that much worse when the

       5      offender turns out to be her own father, someone who is

       6      supposed to love, protect and never harm her.

       7                   The fallout from the offender's manipulative,

       8      selfish, grotesque, perverse, abusive and criminal actions

       9      has been astonishing and extreme.          It has affected many

      10      more people than just myself and my daughter.               It deeply

      11      disturbs me to know the ripples extend so far that people

      12      have even lost their careers because of this.

      13                   Speaking for my child, myself and my family,

      14      however, the repercussions have been severe.               The

      15      financial devastation and complete loss of the ability to

      16      support my family is hard enough to handle.            We have lost

      17      our home and we are now being forced to move and we will

      18      be almost completely dependent on family until we are able

      19      to recover.

      20                   But even this seems minor to what I know we will

      21      be facing long term in regards to the emotional

      22      devastation my daughter is suffering.          The extreme fear

      23      and confusion she experienced while watching federal

      24      agents attempt to beat down her father's front door with a

      25      battering ram.      Degrading the loss of her father in the




                                             77                                   7
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014   Pg: 80 of 178



       1      same manner as if he had died now pale in comparison to

       2      learning the truth about what has happened to her and her

       3      friends.

       4                   While it is a blessing that she has apparently

       5      no active memory of any abuse, the fact that she was

       6      rendered incapacitated through the use of drugs almost

       7      makes things worse.      It is not the monster who has hurt

       8      her that is now gone from her life.          It is her father.      He

       9      was supposed to love her.

      10                   She struggles deeply with trying to understand

      11      that she is an incredibly astute and articulate little

      12      girl who is now asking questions because she wants to know

      13      the truth and while the answers remain general and age

      14      appropriate, she is now haunted by reality, more questions

      15      and a complete loss of her self-esteem, her innocence and

      16      her trust of others.

      17                   She mentions on a regular basis the alienation

      18      she feels, stating that she is no longer the same as her

      19      friends at school and that something is wrong with her

      20      now.      In her own words, that her body is now un-private

      21      which I learned from her means that she feels completely

      22      violated.      Her own father did this to her.

      23                   I will admit that in the beginning, there was

      24      enough pity left in me to feel sorry for him.              I had once

      25      been married to him.      I had once loved him.        But now that




                                             78                                  8
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014   Pg: 81 of 178



       1      I have learned the full extent of his actions, I cannot

       2      believe that it would be safe to allow him the freedom to

       3      victimize children ever again.

       4                   Additionally, I would ask that you consider my

       5      daughter specifically in making your decision.             The

       6      offender is an only child with very little extended family

       7      and none that he is close to.         The idea of his being

       8      released during his lifetime to no home and no family to

       9      turn to except my daughter, it haunts me, it bothers me.

      10      How hard it would be for her at any point in her adult

      11      life to have to decide whether or not to help the man who

      12      horribly violated her as a child or turn her back on him

      13      leaving me with no means to take care of herself.                It

      14      should never be her burden to bear that.           It shouldn't be

      15      her responsibility.       He needs to not have contact with

      16      her.      He needs not to be able to contact her in his

      17      lifetime or hers.      And I would pray that if that is taken

      18      into consideration, I do think about the sentence that he

      19      is to get.      Thank you.

      20                   THE COURT:      Thank you very much, ma'am.         That's

      21      very helpful.

      22                   MS. FREITAS:      Your Honor, Victim's 1 grandmother

      23      would like to speak.         Can you please state your first

      24      name?

      25                   THE COURT:      All right.




                                               79                                   9
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014     Pg: 82 of 178



       1                 THE WITNESS:      Jodie.     As the mother and

       2      grandmother of the wife and children of Mr. Gazafi, I have

       3      witnessed first hand the horrendous impact both

       4      emotionally and financially that his behavior has had on

       5      this family.    I, too, have been emotionally and

       6      financially impacted.

       7                 In September 2013, a little over one year after

       8      losing my husband to cancer, my life was once again

       9      shattered by this terrible crime.             I am now finding myself

      10      living between Maryland and Texas trying to help my

      11      daughter with finances, childcare and household needs now

      12      that she has become a single parent with no support

      13      financially or otherwise from a spouse.

      14                 I watch with a broken heart as my teenage

      15      grandson deals with his anger, shame and the embarrassment

      16      of having his stepfather arrested and convicted of such

      17      heinous acts.       I now have a distrust of all men.         And I'm

      18      terrified at the thought of my two young granddaughters

      19      being left alone with any male, no matter how well we

      20      think we know them.

      21                 I worry about my granddaughter's mental and

      22      emotional well-being as she grieves not just the loss of

      23      her father, but the loss of trust that a parent should

      24      give to a child, not take away.             She will most likely

      25      suffer from emotional issues all of her life as she




                                              80                                 10
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014    Pg: 83 of 178



       1      becomes more knowledgeable of the extent of her father's

       2      crime.

       3                 My daughter, who is a stay-at-home mom, at her

       4      husband's request now struggles to figure out where she

       5      will go once evicted from her home, which is now happening

       6      and we are presently moving out of the home.             And she will

       7      be living with me until hopefully she can get back on her

       8      feet again.

       9                 While punishment is certainly due for the

      10      hardship and trauma Mr. Gazafi has caused in our lives, my

      11      request that he be given the maximum sentence for this

      12      crime is based mostly on a need or not mostly, but it's

      13      also strongly based on the need to protect other children,

      14      who might be exposed to his danger and deviant behavior

      15      were he to be released.

      16                 I do not believe that sex offenders can be

      17      rehabilitated and I do believe that if released, this

      18      behavior would not only resume, but escalate to a much

      19      more dangerous level.     I don't believe that there is a

      20      secure enough system in place outside of prison walls that

      21      could protect other children from a sex offender like him.

      22      A sentence of no less than 90 years would guarantee that

      23      he would spend the rest of his life in prison and away

      24      from innocent children.     Thank you.

      25                 THE COURT:   Thank you very much, ma'am.           That's




                                           81                                  11
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014     Pg: 84 of 178



       1      very helpful.

       2                 MS. FREITAS:     Your Honor, I would like the

       3      grandmother who is raising Victim 2, she's going to give a

       4      victim impact statement at this time.

       5                 THE COURT:     All right.      That will be fine.

       6                 MS. FREITAS:     Can you please state your first

       7      name?

       8                 THE WITNESS:     Cheryl.      Judge, I've been asked to

       9      come here today to tell you the impact of these crimes

      10      against my family.

      11                 THE COURT:     Could you put the microphone a

      12      little closer to your mouth so I can hear you better?

      13      Thank you, ma'am.

      14                 THE WITNESS:     I'm not sure that the English

      15      language has enough words in it to describe the horrors

      16      that have been bestowed on my family and the impact to us.

      17      My granddaughter has now been groomed so that she thinks

      18      things are acceptable and any man or woman who chooses to

      19      could walk up to her and do these same things and she

      20      wouldn't think that they were better.          She wouldn't think

      21      that there was anything wrong because of what he's done.

      22      She now has to go through years and years and years of

      23      counseling to unlearn these things.          And as a part of it,

      24      she's going to go through all these things of feeling

      25      guilt and feeling dirty and used and all those horrible




                                            82                               12
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014    Pg: 85 of 178



       1      things you never want your child to have to experience in

       2      a lifetime.

       3                 Not only that because he drugged her, she has to

       4      go through testing for her kidneys and her liver to make

       5      sure that there is no functional damage to them.               She's

       6      experiencing short-term memory issues.           We're not sure if

       7      it's related, but it sure seems to be because she didn't

       8      have it a couple of years ago.         It's just something that's

       9      been pretty recent.

      10                 It's all these questions about physical health

      11      and mental health as she goes down the road.               How can she

      12      live a normal childhood?      How can she live a normal life?

      13      We are the people we were before.         We don't find the joy

      14      in things that we used to.         We can't show her those

      15      things.   We can't show her how to always look on the

      16      positive side of life because of all these things that we

      17      have to deal with.    We just can't keep the family as it

      18      used to be.    We have to constantly keep on guard against

      19      somebody who might have seen these pictures and can

      20      identify her even without her face being there and would

      21      potentially nab her off the streets.

      22                 I've left my job two and a half years early

      23      because I'm going to be home schooling her to make sure

      24      that she doesn't get hurt again.          I can't deal with the

      25      fact that she is so vulnerable to any pervert that's out




                                            83                                   13
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014   Pg: 86 of 178



       1      there.      That I can't let that happen.      I have to protect

       2      her every way I can.      I just can't -- I can't go back to

       3      being the person I was.       She can't go back to being the

       4      person she was or have the people that were trying to

       5      raise her be a good upstanding person because we're having

       6      to deal with all this.      It is the foremost thing in our

       7      mind and we don't know how we're going to put it all back

       8      together.

       9                   This man cared nothing for her.         When he was

      10      drugging her, there was one morning that he woke us up out

      11      of bed really, really early, I'm saying 6:30, 7:00 in the

      12      morning and he brought her home to us saying that they had

      13      a lot of things to do that day and that that's why he was

      14      waking us up so early and bringing her back.               Very unusual

      15      for when the girls were having sleeping overs.

      16                   And his other child that was with him, one of

      17      the other victims kept saying that my victim did not want

      18      to wake up that morning.       That she wouldn't wake up, she

      19      wouldn't wake up.      They had a hard time getting her to

      20      wake up and he kept shushing her.          She slept that entire

      21      weekend with me having to force her to get out of bed to

      22      eat.      And when I found out about all this, the reality

      23      that smacked me hardest was the fact that I could have

      24      lost her, that she could have died because of a drug

      25      overdose where this individual didn't even have the




                                             84                                  14
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 87 of 178



       1      compassion to tell us what he had done so we could take

       2      her for emergency medical treatment to potentially save

       3      her life.    He would have rather just let her die in my

       4      household than to do anything else.

       5                  Not only that, he plotted and planned for her

       6      older sister to join the sleepover the night that he was

       7      arrested.    He was again going to abuse and victimize a

       8      second member of my family.       He has no compassion for any

       9      of these kids or any of the things that he's done.         He has

      10      no concern for the impact he's put on any of these kids.

      11      And I don't think that he ever gave their well-being a

      12      thought in his arrogance to think that he was okay to do

      13      what he was doing.

      14                  I just don't know if I can sum it all up.        My

      15      family will never ever ever be the same.         We will live the

      16      rest of our lives in fear that somebody will again hurt

      17      her or one of the other members of our family because this

      18      person has made them publicly available in images of a

      19      pornographic nature out there.       We have to constantly

      20      guard on that every step of every day of our lives.          We

      21      have to go through years and years of counseling.        We have

      22      to go through years and years of testing for physical

      23      issues that we shouldn't ever have to do for a child

      24      because of the drug addiction stuff that he possibly gave

      25      her with the Ambien that we don't even know how often he




                                           85                               15
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014    Pg: 88 of 178



       1      did it.   We don't know the full impacts of any of these

       2      things.   But we have to live with that every day for the

       3      rest of our lives.

       4                   So the only thing, Your Honor, I would ask is

       5      that when you pronounce sentence on this individual, may

       6      God's vengeance guide your hand and guide it with all his

       7      wrath.

       8                   THE COURT:     All right.      Thank you very much,

       9      ma'am.    That's very helpful.

      10                   MS. FREITAS:     As Your Honor is aware, Victims 3

      11      and 4 were siblings and their parents would like to give a

      12      statement at this time.

      13                   THE COURT:     All right.

      14                   THE WITNESS:     My name is Trisha.        The statement

      15      is written on behalf of me and my two now toddler age

      16      daughters.     I never thought I would be standing here today

      17      reading a victim impact statement to influence the

      18      sentence you impose upon William Sean Gazafi.                I am

      19      grateful for your time and for the opportunity you gave me

      20      to write this letter as Sean's crimes have had a profound

      21      effect on me.       No matter which words I choose, this letter

      22      is inadequate.       I don't want to tell you how I feel.           I

      23      want you to feel what I feel.         It's difficult to convey my

      24      emotions to someone else who can really grasp the extent

      25      of my overwhelming pain.        I look in my girls' beautiful




                                              86                                  16
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014     Pg: 89 of 178



       1      faces and my heart breaks knowing what happened to them.

       2                  The pain Sean has inflicted on me is a constant

       3      heaviness in the pit of my stomach.          The regret and sorrow

       4      I feel for what happened to my girls adds to the weight.

       5      It's always there.    It's been a soul-crushing experience

       6      for me and my family and I'm not sure how to get through

       7      it.   Every day I struggle not to think about Sean imagine

       8      smiling after a slap in the face, then imagine doing it 24

       9      hours a day.    It's all I think about.        But I can't allow

      10      it to affect our girls.     We have to conduct our household

      11      business as usual for the sake of them.

      12                  I am shocked and disgusted to know Sean is a

      13      pedophile and a child molester.          I never thought my girls

      14      would be victimized in a sexual manner by Sean or by

      15      anybody else, certainly not within the first two years of

      16      their lives, never within the first six months of Jolie's

      17      and quite possibly in the first two months of Casey's.

      18      That was the first time Sean offered to babysit.              He was

      19      alone with her.

      20                  Chad and I were married when I was 32 and he was

      21      33.   We were well established in our careers.             We are

      22      educated.    We are homeowners.    We are dedicated to our

      23      friends and families.     Casey was born in December 2010.

      24      Expecting our first baby was such a special time for us.

      25      I cried with happiness when she was born and I first held




                                           87                                     17
USCA4 Appeal: 14-4522     Doc: 12       Filed: 10/09/2014   Pg: 90 of 178



       1      her.      I cried with relief each time I heard the babies'

       2      hearts beat at every prenatal visit.             It was reassuring to

       3      know they were alive and thriving and well protected.

       4      They were sweet, tiny baby girls for us to love and to

       5      raise well.

       6                   Casey is smart and outgoing.           She is demanding

       7      and sweet at the same time.            Jolie came just thirteen

       8      months later.         She was five and a half pounds and a very

       9      scary delivery.         Thankfully, she turned out to be just

      10      perfect and we are so grateful for that.              She completes

      11      our family and brings such happiness into our home.               She's

      12      quiet and smart, relaxed and content.             She and Casey have

      13      completely different personalities.             They compliment each

      14      other well.      They are the best of friends.

      15                   Sean had been a friend to Chad for years before

      16      Chad and I had our girls.          Sean was a friend like any

      17      other who watched each pregnancy progress and seemed

      18      interested in my health and the health of the babies.                  I

      19      had no idea his interest went far beyond the interest

      20      anyone else had.         He must have been thrilled to learn the

      21      sonograms showed we were expecting girls each time.               In

      22      Sean's mind, these were girls he could act out his sick

      23      sexual urges on.         Innocent babies he could sexually abuse.

      24      The things he did to them are the things I vowed to

      25      protect them from since before they were born.




                                                88                               18
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 91 of 178



       1                  Jolie was just five months old when Sean

       2      recorded a pornographic video of himself with her, a baby.

       3      She was an infant, not even crawling.         Sean, a grown man,

       4      a father, trusted member of our military and a church

       5      goer, he thought it was appropriate to create a video of

       6      his genitals and our Jolie to send a video out into the

       7      world to others who was like him.         He thought it was

       8      acceptable behavior.     He knows no boundaries.          He's a

       9      threat to every child.

      10                  It was very surreal when the FBI came to our

      11      house following Sean's arrest.        We were shown photos of

      12      our girls and asked to identify the children.             One photo

      13      was of Casey wearing a striped shirt.         She had her

      14      pacifier in her mouth and her big round blue eyes were

      15      staring blankly and expressionless at the camera.             Another

      16      photo was of an infant, Jolie, she was wearing a pink

      17      shirt, lying on the floor, holding a bottle of formula

      18      with both hands.     She was looking right at the camera,

      19      too, while Sean was molesting her and capturing it on

      20      film.     If I look close enough, I'm sure I can see his

      21      reflection in their eyes.      Although the photos we were

      22      shown were cropped so they would not upset us, I can't

      23      help but think of the photos that followed, the ones we

      24      didn't see.     I wonder what sexual act Sean was inflicting

      25      on them.




                                            89                                   19
USCA4 Appeal: 14-4522    Doc: 12      Filed: 10/09/2014   Pg: 92 of 178



       1                  The shocks just kept coming.          Sean's crimes were

       2      depicted on the evening news, in newspapers and in online

       3      news sources and discussed on blogs immediately following

       4      his arrest.     Sean's church posted his prison address

       5      online asking its congregation for support as we are all

       6      God's children.      What about my children?        What about all

       7      the children he victimized?          Who on earth would send

       8      letters of support to Sean in prison?

       9                  Friends shared the news story on Facebook, not

      10      knowing my girls were the victims.          I read all the

      11      comments to those posed.        They were the expected what a

      12      horrible monster, I hope he dies in jail comments to how

      13      do the parents not know, a six-month-old baby.                Well, it

      14      was very painful to read the judgments other parents

      15      imposed on me.       I know I didn't do this to my children.

      16      Sean did.     I didn't knowingly allow this to happen to any

      17      of these children.       Each piece of media was shocking and

      18      disturbing.

      19                  Reading the indictment and complaint and arrest

      20      warrant online was truly sickening.           To see that a

      21      thousand other people read that also makes me sick.                 I'm

      22      not sure who would want to know such things.                But I

      23      imagine most of the folks who searched out these documents

      24      were former colleagues of Sean's and colleagues of my

      25      husband.




                                              90                                   20
USCA4 Appeal: 14-4522     Doc: 12      Filed: 10/09/2014   Pg: 93 of 178



       1                   To see the effect this has had on my husband is

       2      very upsetting.       My heart breaks the entire situation.              I

       3      can't imagine the pressure Chad must have felt knowing he

       4      would have to come home and wake me to break this

       5      disturbing news at 1:00 in the morning.             It was the worst

       6      night of my life.        I can't imagine what it was like to be

       7      him when the investigators pulled him aside at work to

       8      tell him that Sean had victimized our girls with his

       9      heinous crimes.       I can't imagine what Chad deals with at

      10      work even now.        His colleagues were also Sean's colleagues

      11      and everyone knows Sean and Chad were good friends because

      12      it was in the news.        Everybody knows Sean was arrested and

      13      they all know why.       Because they are reasonably

      14      intelligent people, it seems clear Chad's co-workers are

      15      aware that our girls are among Sean's victims.

      16                   Chad asked me if I was upset with him because he

      17      was friends with Sean and he felt responsible for bringing

      18      him into our lives.        I assured him he was not to blame at

      19      all.      Sean knows right from wrong and he's the one who did

      20      this and the blame belongs squarely on Sean.                 Sean is a

      21      disgrace to the military, to his church, to his family and

      22      to his friends.       Sex crimes can destroy a person.            Sean

      23      tried to and maybe even did destroy the mental well-being

      24      of the girls he molested.         Thankfully, my girls were

      25      probably too young to realize and understand what he did




                                               91                                  21
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014   Pg: 94 of 178



       1      to them.     I wouldn't be able to stand it if Casey and

       2      Jolie grew up to be less than whole because of the sexual

       3      abuse they suffered at Sean's hands.

       4                  I realize now Sean manipulated us in order to

       5      gain private access to our girls to satisfy his disgusting

       6      sexual urges.        We were perfect targets for him.          I am new

       7      to the area.     Our families are hundreds of miles from

       8      here.     He recognized this and used it to his advantage.

       9      He scammed us so he could gain access to our baby girls

      10      and share their naked photos with his pedophile friends on

      11      the Internet.        And somehow Sean made me feel as though I

      12      were in his debt each of the four or five times he babysat

      13      for us.     All of it is just so discussing.           I let him into

      14      our home and alone with our girls.           He was a wolf in

      15      sheep's clothing.        I never knew the real Sean.          He was

      16      Foot Fan Bill all along.

      17                  Every date night we arranged at Sean's

      18      suggestion was really a date night for him.              It horrifies

      19      me looking back.        He horrifies me.     Sean was arrogant and

      20      bold to victimize my entire family like this.                It is

      21      unbelievable the way he'd make everyone around him feel

      22      inferior.     He had a know-it-all attitude especially when

      23      it came to electronics.         He had the latest and all the

      24      gadgets, IPad, IPhone, E-reader, laptop.             But now I'm

      25      thankful for how techy he was because those electronics




                                               92                                    22
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014     Pg: 95 of 178



       1      became his undoing.     The photos and videos he saved on

       2      these things tell a story about a very disgusting

       3      individual who's not fit for society.           He had an

       4      international life and now he sits in a jail cell and that

       5      gives me some consolation.         He's not been able to

       6      victimize anyone else here or internationally since

       7      December.

       8                   What Sean did has changed our lives in many

       9      ways.     Chad and I attended several counseling sessions at

      10      genesis to try to reconcile the Sean we thought we knew

      11      with this scheming child molester Sean really is and was

      12      all along.     It is our hope that counseling will help us

      13      continue to be good parents throughout this nightmare that

      14      has consumed us.

      15                   We've considered moving and actually made the

      16      decision to move out-of-state to get away from him and

      17      away from our house where we can just start over, moving

      18      the girls from their only home.           There's an urge to flee,

      19      but also an urge to keep our routine as normal and

      20      possible for the girls.

      21                   At work, this has affected me.         New clients

      22      almost always run standard background checks on my

      23      security clearance.     And this federal investigation will

      24      turn up and it will need to be explained to some extent.

      25      I really can't get away from it.           Chad can't get away from




                                            93                                  23
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 96 of 178



       1      it at work or at home.      We took time off after Sean's

       2      arrest so we could go to New York and be with our families

       3      and to weather the storm.       I've used several vacation days

       4      to deal with what Sean did.         In addition to going home for

       5      a week, I've had to use time for counseling appointments

       6      and doctor's appointments for the girls.           Most of my

       7      vacation time is gone.      We were saving it for a family

       8      vacation that we will not get to have this year.

       9                 In addition to the time I was forced to take off

      10      work, there were other financial implications.             Because we

      11      have elected to move out of state on account of Sean's

      12      crimes, we have incurred the expense of fixing up our

      13      house to sell.      We will have to incur the expense of

      14      relocating.    My husband will lose potential higher

      15      earnings by accepting a new position at another base.

      16      After 19 years loyally serving the Air Force, Chad was on

      17      track at Andrews for his dream job and now he's

      18      sacrificing that.      I'm not sure how to put a dollar value

      19      on such a thing.      While I appreciate his dedication to our

      20      family and what is best for us, it is difficult for me to

      21      watch my husband walk away from Andrews where he has

      22      worked so hard and traveled and sacrificed so much to get

      23      ahead.    I can't imagine what it would be like for him to

      24      stay here though either.       Everyone at work knows Chad's

      25      daughters are Sean's victims.




                                             94                                24
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 97 of 178



       1                   Sean's actions have taken a toll on my physical

       2      health.   My immunity is so weakened from the stress and

       3      lack of sleep, that I get sick fairly easily.              I was on

       4      three courses of antibiotics just in the month of October

       5      alone.    I experience headaches almost daily.            It's a rare

       6      day that I don't get a headache from the stress of the

       7      situation.     I have always been extremely healthy and I

       8      look forward to Sean's sentencing so maybe I can rest and

       9      be in better health.

      10                   I am hesitant now to allow my girls to live a

      11      normal life.     The sleepovers, play dates, school, going to

      12      the beach, going in a playground, signing up for dance or

      13      gymnastics lessons, I will have to weigh these things very

      14      carefully as the situations arise.        I can't look around me

      15      at the grocery store, the playground, the mall without

      16      wondering if every man I see is a pedophile.              I think

      17      twice when I put a dress and tights on the girls.              Their

      18      costumes for Halloween are very conservative because of

      19      Megan's Law.     I know exactly how many convicted sex

      20      offenders live in our area.        I know about where they live

      21      in relation to our home.      I've always checked the registry

      22      periodically in an effort to keep my girls safe.              It did

      23      not cross my mind that the real danger was a supposed

      24      friend of ours.     It didn't cross my mind that as I checked

      25      the registry, my girls had already been sexually molested




                                            95                                    25
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 98 of 178



       1      by someone we knew.     Because Sean disseminated photos and

       2      videos of my girls to other pedophiles online, I

       3      understand these images are now out in the world.           I have

       4      chosen to be notified whenever their photos are traded.

       5      These girls will be victimized over and over every time

       6      one of their pictures are shared.         Whoever views their

       7      images or shares them should also be prosecuted.

       8                  There's a live video feed provided at the girls'

       9      daycare.    I have it on all day, every day.         I work on one

      10      laptop and have the daycare video up on the other laptop.

      11      The cameras give me peace of mind that our daughters are

      12      being cared for while I work and they are not being abused

      13      there.     Because I'm able to work from home most of the

      14      time, I'll keep the girls home with me every now and then

      15      instead of sending them to daycare.         I just don't want to

      16      let them out of my sight.

      17                  Many days I resist the urge to just go pick them

      18      up so they'll be home with me.        It's not a good way to

      19      live and it's not practical for very long.           Logically, I

      20      know I will have to send them out into the world without

      21      me.   Maybe that gets better with time.         After what Sean

      22      did, it is difficult not to shelter these girls.

      23                  In the future, I don't know how to tell the

      24      girls that they can't trust everyone and why not everyone

      25      they believe to be a friend can be trusted.           Not everyone




                                            96                                26
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 99 of 178



       1      is looking out for them.      Some people have malice in their

       2      hearts.   I tell them that their bodies are their own.            And

       3      not to let anyone touch them in their bathing suit areas.

       4      Those are private areas not to be shared with anyone.             If

       5      they are made to feel uncomfortable by anyone, I tell them

       6      to come and tell me or daddy or one of their teachers.                It

       7      seems pointless to have this discussion with a two-year

       8      old and a three-year old, but I think they're getting it.

       9                   Thankfully, Sean was removed from society as

      10      Foot Fan Bill and Bill James' real identity was

      11      discovered.     There is no place in society for child

      12      molesters.     I am glad he is incarcerated with other

      13      violent criminals.     I hope they are able to peg him for

      14      who he is.

      15                   I am grateful for the undercover folks, with the

      16      FBI who weed out these disturbed individuals.             The

      17      undercover operations saved my girls from years of abuse.

      18      It's unfortunate that I will never know to what extent

      19      Casey and Jolie were abused.       I am aware of only what Sean

      20      was sick enough to capture on video and in photos and dumb

      21      enough to share it with an undercover agent.

      22                   Sean used my girls and our home to commit these

      23      disgusting acts.     Nothing is off limits to him.          My fear

      24      is that his behavior would only escalate had he not been

      25      caught.   He was likely to befriend other families or use




                                            97                                 27
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014    Pg: 100 of 178



       1      his innocent daughter to unknowingly lure other victims

       2      for him to abuse.

       3                  So here we are, trying to mend our daughters

       4      from the horrible sexual act Sean committed, trying to

       5      mend ourselves, trying to keep our marriage in tact and to

       6      keep our family in tact.         I'm not able to sleep well at

       7      night.     I have dreams about Sean.         He's my first thought

       8      in the morning.        He's my last thought at night.            It's a

       9      rare occasion when a few hours pass and I think to myself,

      10      wow, I haven't thought about Sean in a few hours.                 We try

      11      to busy ourselves so we are distracted enough to think of

      12      happy things.        We try to create good memories for our

      13      family.

      14                  Child molesters are the most dangerous and

      15      predatory of all criminals.           Sean is the worst of them.

      16      As a parent and as a judge, you have a responsibility to

      17      rid society of these dangerous monsters and give justice

      18      to each of the little girls Sean molested, a baby and a

      19      toddler among them.

      20                  What Sean did is appalling, it's atrocious,

      21      horrific, disgusting and sleezy.             No good is gained from

      22      his crimes and so many people are suffering from his

      23      actions.    I always try to look at the bright side of

      24      things.    But there is no bright side in this.                No one wins

      25      and everyone loses.        Sean is a threat to all children and




                                               98                                   28
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014    Pg: 101 of 178



       1      to all unsuspecting families.        Because Sean distributed

       2      pornographic images of my girls on the Internet, the girls

       3      will never be free from his crimes.           Sean arranged it so

       4      they will be abused perpetually every time their photos

       5      are sent or received.      He should never be free either.

       6                 I respectfully request the maximum sentence of

       7      30 years for each of the six counts in the indictment to

       8      be served consecutively and whatever restitution you feel

       9      is appropriate.     Specifically, it would bring great

      10      comfort to me and it may deter other pedophiles from

      11      engaging in similar crimes if Sean served his 180 years at

      12      the Supermax facility in Florence, Colorado.

      13                 I believe Sean is a security risk with his prior

      14      high level U.S. security clearance and with his above

      15      average technological knowledge.           Beyond that, Sean is a

      16      pedophile who boldly committed egregious crimes against

      17      innocent children and should never live outside of prison

      18      walls.    Thank you.

      19                 THE COURT:     Thank you very much, ma'am.         That's

      20      very helpful.

      21                 THE WITNESS:     My name is Chad.        Your Honor, I'm

      22      the dad of two of the victims.         My relationship with the

      23      defendant and the co-worker -- I'm sorry.             My relationship

      24      with the defendant was a co-worker and friend for six or

      25      seven years.    I don't know that there are words to




                                             99                                29
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014     Pg: 102 of 178



       1      describe how his actions have affected me and my family.

       2      It's really changed who I am as a person and how I go

       3      about my life.      I can assure you that it's been an

       4      emotional roller coaster.       But I'll keep this factual to

       5      illustrate how this has changed us.

       6                   I learned about his crimes against my daughters

       7      on September 6th.      Within a minute of informing me of his

       8      crimes, I was told that I had to look at the situation as

       9      the death of a friendship.       I was shocked and confused to

      10      a point where I really didn't understand what they were

      11      telling me.     But I knew enough to know that I didn't want

      12      to know any details because I didn't feel like I could

      13      handle them.

      14                   The word "abuse" kept being used.           After talking

      15      to the agent for about 15 minutes, someone used the word

      16      "molested."     It wasn't until then that I recognized the

      17      severity of the situation.       It was late at night and I

      18      knew that I would go home at some time that night.              So I

      19      started to think about my wife.            I questioned whether I

      20      should allow her to get a good night's sleep before

      21      informing her and allowed her a few more hours to view the

      22      world normally.     When I walked into the door, the first

      23      thing I did was hug both of my girls and tell them that I

      24      love them.     I decided to wake my wife and inform her

      25      immediately.     I never did get the words out.           Based on the




                                            100                                 30
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014     Pg: 103 of 178



       1      direction of the conversation, she figured it out.                All I

       2      could do was nod my head when she caught on.

       3                   The following day, we had to identify our

       4      daughters in six pictures he had taken.            Thankfully, the

       5      pictures were innocent, but the looks on their faces are

       6      engrained in my memory to this day.           It was a look of fear

       7      and confusion coming from babies.           The pictures forced me

       8      to imagine what preceded and followed.

       9                   We took them to the doctors soon thereafter.

      10      The doctor assured us that the girls were physically okay

      11      and that they were too young to remember.             That is all

      12      that I will ever need to know.        More details of the

      13      incidents won't make me a better parent or a better person

      14      and I still don't think my mind is capable of handling it.

      15                   Over the next few days, my wife and I sat around

      16      asking all the questions.      We pieced together information

      17      and realized how he was going about his crimes.              We

      18      focused on our hatred and confusion towards him and we

      19      wanted to know the details of the arrest.             We hoped it was

      20      a humiliating and painful experience.           The hatred consumed

      21      our lives.     We averaged about four hours of sleep at night

      22      while trying to focus all of our attention on our

      23      daughters when they were awake.           We were spinning our

      24      wheels and it was to a point where neither of us had

      25      answers.




                                           101                                    31
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 104 of 178



       1                   I took ten days of leave and we headed to our

       2      families for advice, comfort and normalcy.           My mind was

       3      starting to move on when the story went public on

       4      September 12th.     But again it consumed us.        We watched as

       5      Google results multiplied by the minute and the story

       6      spread across the country and around the world.             It wasn't

       7      healthy, but I needed to know what the media was saying

       8      and what people were reading.       I was infuriated more so

       9      than ever and spent hours pacing that night.           Against my

      10      better judgment, I started to read the transcript of a

      11      conversation collected by the undercover agent.             I was

      12      only able to read a few pages of that document and to this

      13      day, I haven't read it all.

      14                   We returned to Maryland and I returned to work

      15      hoping to focus my attention on anything else.             A friend

      16      called me before I arrived to work and warned me that I

      17      wouldn't be able to avoid the gossip.         I was assured that

      18      leadership across the base was doing everything in their

      19      power to protect my privacy.       But I didn't do myself any

      20      favors by disappearing for two weeks.

      21                   With the details given in the news articles

      22      combined with my disappearance, most of my current and

      23      former co-workers had figured out that it was my babies

      24      mentioned.     When I encountered co-workers for the first

      25      time, it was unmistakably awkward.        I felt like I was a




                                           102                                    32
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 105 of 178



       1      ghost that they had run into.        I knew that it would take

       2      time to overcome that, but I had no choice.            And on top of

       3      the awkwardness, I had leadership checking on my

       4      well-being.

       5                  For a few weeks, it was daily meetings with

       6      different people throughout the day.          After some time,

       7      face-to-face meetings changed to emails and the frequency

       8      subsided.     Honestly, it felt nice to have an outlet and I

       9      fully appreciate the support they gave me.            However, in

      10      the time when I was looking to be a normal guy, these

      11      meetings were constant reminders of awful events.            Over

      12      time, I learned that isolating myself was the best

      13      approach until people could look at me the same.

      14                  Eventually, I spoke to the base chaplain on a

      15      few occasions.      He kept reminding me of Jeremiah 29:11.

      16      The talks were productive.       But even if God had a plan for

      17      me, I questioned why his plans affected such innocent

      18      children.     I wondered why God's plan couldn't have been

      19      for two pedophiles to meet in a head-on collision prior to

      20      molesting innocent children.

      21                  So I decided to seek help from a psychologist.

      22      A psychologist could only confirm that the anger and

      23      hatred I was feeling was natural and normal.            I only had

      24      two meetings with him and felt there was nobody out there

      25      who could really help me.




                                            103                                33
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 106 of 178



       1                 Eventually, it was December and my oldest

       2      daughter's birthday was coming up followed by Christmas

       3      and New Year's and then my youngest daughter's birthday.

       4      I've understood all along they are the two victims.              So

       5      with each occasion came an emotional appreciation for who

       6      these girls are and how far they've come along.           I've

       7      never appreciated birthdays, Christmas and New Year's as

       8      much in my life.    It finally started to feel like there

       9      were new beginnings.    2013 couldn't end soon enough.

      10                 We took more vacation after the holidays and

      11      spent time with our family.       On our way back, we discussed

      12      the need for change in our lives.        The truth is is that no

      13      matter how much we tried, we can't be happy in Maryland

      14      with memories surrounding us.

      15                 Our young babies were molested in their home by

      16      a friend of the family while we were at various locations.

      17      Each of these locations is a memory.        I would forget if I

      18      had the ability.

      19                 The military was offering early retirement and I

      20      played with the idea for a little while.         But I'm not

      21      ready to retire.    So I asked for orders in mid January.

      22      Three days later, I received them.       Since then we have

      23      focused our attention on moving forward instead of trying

      24      to fix a past that we can't change.

      25                 Your Honor, it's been almost a year since I was




                                          104                                   34
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014   Pg: 107 of 178



       1      pulled inside a small, yellow room and informed that my

       2      daughters had been molested by someone who we considered a

       3      close friend.        My daughters don't know what happened to

       4      them and they never will.         They are healthy, happy, smart,

       5      beautiful girls with bright futures ahead of them.                 They

       6      have always been loved immensely and they always will be.

       7      Thankfully, my children are going to be fine.                 It's me and

       8      my wife who can't seem to put this behind us today.                 There

       9      isn't a way to make this go away.            There's a disgusting

      10      reality that my daughters were put through.              I don't even

      11      know all of the details, nor do I want to.

      12                  Our plan as a family was to finish my career in

      13      Maryland and head to South Carolina or maybe Georgia.                 We

      14      were a normal, happy family.          We were focused on providing

      15      happiness for our daughters and each other.              I have an

      16      amazing job that very few people can say that they have

      17      done.     My daughters have aunts, uncles, cousins and

      18      grandparents just a few hours away and they were lucky to

      19      have the opportunity to get to know them.

      20                  Financially, we were doing outstanding.               We have

      21      been able to make numerous changes to an ordinary house

      22      and make extra payments to maximize the return once I

      23      retire while saving plenty of money for great vacations in

      24      the future.     The good decisions made through our lives

      25      were finally starting to pay off for us.             We both had a




                                              105                                  35
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014     Pg: 108 of 178



       1      very optimistic view on the future and people in general.

       2      I was working toward a sociology degree and networking for

       3      possible jobs after retirement.          When I woke up on the

       4      morning of September 6, 2013, my world seemed like it was

       5      better than it had ever been.

       6                 An unexpected conversation in a little yellow

       7      room has changed my life in every way.           We've spent almost

       8      a year trying to wrap our heads around one man's actions.

       9      We've analyzed everything about him.          We've spent a good

      10      deal of time trying to differentiate between our friend,

      11      Sean, and Foot Fan Bill, the child molester.            This is a

      12      man who was in the military.      He went to church.           He

      13      seemed to make friends easily.       He was quick to point out

      14      other people's flaws.    He managed to excel at his job and

      15      gain recognition.    He was friendly and easy going.                That

      16      was all manipulation.    As it turns out, his military

      17      service was a path to exploit military families.               I

      18      haven't read the Bible myself, but I'm pretty sure that it

      19      doesn't forgive molesting or raping children.               He made

      20      friends so that he could take advantage of them.

      21                 His quick judgments about people must have made

      22      him feel better about being the lowest form of human

      23      being.    The truth is that Sean never existed.             It was

      24      simply the face that was sent out to the world to create

      25      false perceptions in order to carry out selfish criminal




                                          106                                       36
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014    Pg: 109 of 178



       1      acts.

       2                  Finances are the least of my concerns.               We felt

       3      a little bit of financial impact, but I feel the worst is

       4      yet to come.     Our house is currently on the market to sell

       5      for $50,000 less than what I purchased it for.                 It's been

       6      on the market since March and there hasn't been much

       7      interest as of late.        Repairs, aesthetics and upgrades

       8      would cost us between ten and fifteen thousand dollars

       9      just to have the house ready for sale.

      10                  We've also had to travel to our next location to

      11      look for a house.        With two children, we can't just wait

      12      until we get there.        We put in an offer on a house and it

      13      was accepted.        Closing costs and expenses on that house

      14      are still to be determined.           That trip costs us over

      15      $3,000 between airline tickets, rental car and

      16      miscellaneous expenses.         In the best case scenario,

      17      someone puts in a bid on our home and we are done with it.

      18      If that occurs, there will be more expenses and closing

      19      costs.     Since we're two months out, the most likely

      20      scenario will be to rent the house after a refinance.                   The

      21      refinance will be costly and put us further behind.                 I

      22      have never rented a house out.           But further expenses would

      23      depend on who I get as a tenant.             There is always the

      24      possibility that the house doesn't rent at the price we

      25      need.     Then we will be paying out-of-pocket.            I really




                                              107                                     37
USCA4 Appeal: 14-4522    Doc: 12      Filed: 10/09/2014   Pg: 110 of 178



       1      can't even give a ballpark number of how much this will

       2      cost us in the end.       It will probably be close to six

       3      figures.

       4                   My personal and professional life has been a

       5      huge struggle.       When I'm at work, I feel I could carry

       6      that huge elephant into every room I walk into.              Everybody

       7      is aware of my situation.        So they look at me differently

       8      and treat me differently.

       9                   I took my oldest daughter to a work function one

      10      day and even that was awkward.          People were looking at her

      11      differently instead of seeing her as a three-year-old

      12      girl.     As time went on that day, she was receiving special

      13      attention.     I haven't taken either of my girls to a work

      14      event since then.       I can't blame people.       Even now I

      15      wouldn't know what to say to someone in my shoes.

      16                   Over time, I have realized that I can't expect

      17      to live a normal life here.          I will always be that guy.

      18      The worst part over the last year has been the internal

      19      battle.     I've struggled the most with staying motivated.

      20      Not only has this case consumed me, but the way people

      21      look at me and my family and it defines us.

      22                   Many late nights are still spent wondering all

      23      the same questions.       I've had nightmares on occasion and I

      24      have lived most of the past year in anger and anxiety.              I

      25      knew someone for six years and didn't know he was




                                             108                                38
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014    Pg: 111 of 178



       1      molesting children.     That alone caused me to lose faith in

       2      humanity and lose trust in people in general.               Then I have

       3      to live with the fact that my girls were molested.

       4                 I try to remind myself of an agent we spoke to

       5      who said that he was the father of three and his kids

       6      lived a normal life with sleepovers.          Maybe it's still too

       7      soon, but I still watch closely when somebody other than

       8      me or my wife hold our children.          That may be abnormal,

       9      but there's a new normal that was introduced in our lives.

      10                 Hopefully, you can see the overall effect that

      11      his crimes have had on myself and my family.            I believe

      12      strongly in free will and the ability as Americans to live

      13      our lives as we choose.      If our lives went as planned, we

      14      would have lived happily in Maryland and made our choices

      15      from there.    Sean's actions have turned our lives inside

      16      out in every way.     There is a great deal of uncertainty

      17      moving forward.     My wife and I can't live here any longer

      18      with so many horrible memories all around us.               Our lives

      19      moving forward aren't the ones that we've chosen.              And

      20      that in itself will just be another reminder.

      21                 On behalf of my girls, I would like to thank the

      22      agents for bringing this man to justice.           And also on our

      23      behalf, I respectfully request that the Court imposes

      24      maximum sentencing and ensures that he is unable to harm

      25      another innocent person until the day he dies.               I would




                                           109                                     39
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014    Pg: 112 of 178



       1      like to sincerely thank you for the opportunity to speak.

       2                  THE COURT:      Thank you very much, sir.           That's

       3      very helpful.

       4                  MS. FREITAS:      Your Honor, there are no more

       5      victim impact statements that will be given at this time.

       6                  THE COURT:      All right.       Before I proceed

       7      further, I've received a number of motions to seal on

       8      this.     Unless there is any objection, I will enter orders

       9      approving all the motions to seal.             There's also a motion

      10      for an order of forfeiture.           Is that an agreed order?

      11                  MS. FITZGIBBONS:       Yes, Your Honor.

      12                  THE COURT:      All right.       I will enter the order

      13      for forfeiture.        There is also an order for HIV and STD

      14      testing.     Is there any opposition to that?

      15                  MS. FITZGIBBONS:       No, Your Honor.

      16                  THE COURT:      All right.       I will enter all those

      17      orders.     All right.     I have applied the guidelines as

      18      required.     I have considered the very eloquent victim

      19      impact statements that are very helpful to me.                 And the

      20      guidelines produce the range that I mentioned when I went

      21      on the bench.        I have reviewed the sentencing memoranda

      22      submitted by both parties.         But I would like to give the

      23      defense an opportunity now to argue for what they believe

      24      will be an appropriate sentence under the statutory

      25      factors under Section 3553(A).




                                              110                                  40
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 113 of 178



       1                 MS. FITZGIBBONS:   Yes, Your Honor.

       2                 THE COURT:   And any allocution by the defendant

       3      and any defense witnesses as well.

       4                 MS. FITZGIBBONS:   Thank you, Your Honor.

       5      Mr. Gazafi would like to address the Court as well as the

       6      individuals seated in the courtroom.

       7                 Your Honor, I don't envy your job.        This is a

       8      very difficult case for so many reasons.        One of them

       9      being I think the complexities of human nature that were

      10      very eloquently articulated by the family that we just

      11      heard from.

      12                 What we're asking for, Your Honor, is a sentence

      13      to 30 years, which is very close to a life sentence for

      14      Mr. Gazafi, who's in his early 40's.       And I believe that

      15      that sentence serves the goals of punishment because it

      16      represents an individualized sentence.        And there are

      17      three factors that I laid out in my sentencing memorandum

      18      that I would ask the Court to consider in determining

      19      whether or not these sentences should run concurrently

      20      because that's really a part of what the issue is.         And

      21      those three factors are his military service, his

      22      acceptance of responsibility and what I would call his

      23      rehabilitative potential.

      24                 The government in its brief to the Court has

      25      focused on the issue of deterrence and clearly that's




                                          111                               41
USCA4 Appeal: 14-4522    Doc: 12      Filed: 10/09/2014   Pg: 114 of 178



       1      warranted here.      A sentence that deters both Mr. Gazafi

       2      and other individuals are warranted.           We don't dispute

       3      that.     We don't dispute that a substantial period of

       4      incarceration is necessary.          But the Court still has to

       5      balance where do we fall, what sentence is sufficient, but

       6      not greater than necessary to serve those concerns.               A

       7      sentence of 30 years?       A sentence to 40 years?          A sentence

       8      to a hundred years as the government has suggested?               Is

       9      there an appreciable increase in deterrent value when we

      10      look at the different increments that are available to the

      11      Court?     And I'm not sure there is much in terms of

      12      incremental value, a difference between 40 years versus a

      13      hundred years.       I cited, of course, a case where Judge

      14      Posner I think laid that out very well.

      15                  My second concern is from an Eighth Amendment

      16      perspective and a reasonableness perspective is asking for

      17      a life sentence one proportionate to the offense.              Life or

      18      a de facto life sentence which is what the government is

      19      asking for is a sentence that is reserved in the federal

      20      system.     Not that this is not a very, very serious and

      21      horrific crime.      I'm not downplaying the seriousness of

      22      it, but there is a fundamental difference between this

      23      crime and sentences that would trigger a life sentence

      24      such as intentional homicide.          If we look at Sentencing

      25      Guideline 2A1.1, the application note tells us that that




                                             112                                    42
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014     Pg: 115 of 178



       1      is the most serious of criminal offenses.           So to give

       2      Mr. Gazafi two and a half, the equivalent of two and a

       3      half life sentences for this conduct I believe is

       4      unreasonable under the Eighth Amendment.

       5                 The second issue with respect to the de facto

       6      life sentence is a concern for proportionality as it

       7      relates to the individual and the need for an

       8      individualized sentence.    Very briefly I cited for the

       9      Court the Supreme Court's most recent jurisprudence on

      10      Eighth Amendment and proportionality and our concern that

      11      we take into consideration this individual and his

      12      particular conduct and come out with a sentence that is

      13      just considering him.   Proportionality requires that kind

      14      of individualized consideration.         And why I think he's

      15      different and why I think he is deserving of the Court's,

      16      quite frankly, mercy, I think relates most strongly to his

      17      acceptance of responsibility, which I really think has

      18      been extraordinary and distinguishes him from other

      19      offenders that I have represented, that our office has

      20      represented that have come before the court when charged

      21      with similar crimes.

      22                 And acceptance of responsibility in this case,

      23      Mr. Gazafi comes here having pled open to each and every

      24      single count in the indictment.         And, you know, it may

      25      have been tempting to drag things out, to wait, we didn't




                                         113                                   43
USCA4 Appeal: 14-4522     Doc: 12      Filed: 10/09/2014   Pg: 116 of 178



       1      get any benefit from pleading guilty at least from the

       2      guidelines perspective, to drag things out until the very

       3      last moment, to go through trial preparations or to go to

       4      trial and he didn't do that because it wasn't the right

       5      thing to do.      And he didn't want to put anyone through any

       6      more pain and suffering than they have already

       7      experienced.      So he pled without the benefit of a plea

       8      agreement long before any trial date was set and put the

       9      government on notice of his intention if the Court

      10      remembers months in advance.          And that sets him apart and

      11      it should be a strong consideration for the Court.

      12                   And it's interesting to me when I look at the

      13      government's recitation of cases with these very, very

      14      long and very, very high numbers in the context of child

      15      production.      The case comparison I think is of limited

      16      utility when we know nothing about the individual factors.

      17      For example, five of the cases described in the

      18      government's brief, Hinojosa, Sarras, Demeyer, Davis and

      19      Cowan, all of those defendants didn't plead guilty.           They

      20      went to trial.        And several of them after having the

      21      victims of their crime testify, testified themselves, at

      22      least two and then were subject to an obstruction

      23      enhancement at the end of the day.           So I don't know how

      24      this individual can stand in the same position as those

      25      men.      It's just incomparable when their cases were




                                              114                            44
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 117 of 178



       1      resolved by contested trials.      The other way --

       2                 THE COURT:   Well, let me ask you this.           The

       3      Fourth Circuit in the Cobbler case in April upheld a

       4      120-month sentence for a defendant who pled guilty in that

       5      case.

       6                 MS. FITZGIBBONS:    Yes, Your Honor.       And I think

       7      what's difficult for us to know is whether or not some of

       8      the factors that are present here were present there.

       9      One, his acceptance of responsibility; two, a experienced

      10      clinician's assessment that he is in fact amenable to

      11      treatment and that goes back to acceptance of

      12      responsibility because he's been honest and forthcoming

      13      about his offenses; and three, you have an individual here

      14      who has had an exceptional life, an exceptional series of

      15      circumstances, an exceptional period of service within the

      16      armed forces, which I think bears mentioning to the Court

      17      and should receive a serious consideration.          So certainly,

      18      the Court could impose that kind of sentence.             I believe

      19      that it's not proportionate, it's not proportionate to

      20      this individual and I don't think that it would be

      21      appropriate.    I talked about that piece of his acceptance

      22      of responsibility.

      23                 The other thing that he did that I mentioned in

      24      my sentencing memorandum is accepted responsibility on the

      25      military side of the house as well.        And rather than going




                                          115                                    45
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014   Pg: 118 of 178



       1      through a drawn-out administrative separation proceeding,

       2      he agreed to be separated from the military as quickly as

       3      possible.      And the reason why he did that against the

       4      advice of his military counsel was so that his family

       5      would receive what's called transitional compensation.

       6      And in doing that, it was his hope that the Air Force

       7      would continue -- and I think they will eventually --

       8      continue to pay his family his salary for another two

       9      years while they're trying to get their feet underneath

      10      him.      So that's another indication of his extraordinary

      11      acceptance of responsibility.

      12                   I mentioned Dr. Weiner's evaluation and

      13      assessment and I think it's worth spending a few minutes

      14      on his assessment.      Dr. Weiner talked to Mr. Gazafi to

      15      assess his amenability to treatment and to provide the

      16      Court with some treatment recommendations, what can we do

      17      going forward.

      18                   Dr. Weiner is a clinician and he deals with a

      19      wide range of offenders.       You know, offenders who may be

      20      are only looking at child pornography and offenders

      21      unfortunately who have molested children.            He also works

      22      with offenders, who after they are released from custody,

      23      B.O.P. custody and require some kind of sexual offender

      24      treatment as a condition of their release.            He is very

      25      familiar with the components of the B.O.P. sex offender




                                            116                                  46
USCA4 Appeal: 14-4522    Doc: 12      Filed: 10/09/2014     Pg: 119 of 178



       1      treatment programs and as well as some of the other

       2      programs offered through B.O.P.             He's been in practice for

       3      over 40 years.       His C.V. reflects the fact that he's

       4      worked closely with law enforcement agencies at both the

       5      state and federal levels to ensure appropriate levels of

       6      supervision for individuals convicted of sex offenses.

       7                  He had the professional integrity to evaluate

       8      Mr. Gazafi based on the information before him.                And he

       9      sees, I think he views the evidence from a clinician's

      10      perspective and it's not his job to punish Mr. Gazafi

      11      obviously and that's what he does day in and day out.

      12                  The government has criticized his report saying

      13      that it's overly reliant on Mr. Gazafi's self-report.

      14      That's not in fact the case.         Dr. Weiner was provided

      15      every piece of discovery that the government gave me.                   He

      16      did not view the images because I think we as a team

      17      decided it was not appropriate for him to do so given the

      18      nature of the images.       So he looked at the complaint, the

      19      search warrant application which included the chats, the

      20      materials taken from the house, Mr. Gazafi's medical

      21      records.    He looked at all of that.

      22                  The government has also criticized Dr. Weiner

      23      for failing to look at NCMEC reports and forensic

      24      analysis.     And the Court can't punish the defense or give

      25      that criticism any weight when the defense didn't have




                                             117                                  47
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014    Pg: 120 of 178



       1      these materials until June 11th.            So materials can't be

       2      held back, then provided and then the expert criticized

       3      for not relying upon them.        If we had them, we would have

       4      given them to him.       Unfortunately, we didn't.            So we

       5      couldn't.

       6                  I think that part of the government's concern is

       7      Dr. Weiner's assessment of risk and, you know, I see the

       8      significance of the evaluation as being one of amenability

       9      to treatment.       Risk is something that's so far down the

      10      road, I'm not sure anyone can predict that at this point.

      11      So the crux of the letter deals with Mr. Gazafi's

      12      amenability to treatment and part of that relies on

      13      Mr. Gazafi's willingness to engage in treatment and to be

      14      honest.     And the Court can read the letter for itself, but

      15      it's very clear.       The letter, you know, admits that

      16      Mr. Gazafi has struggled with an addiction to pornography

      17      for quite some time.       The letter does not overly rely on a

      18      test that the government is critical on.             So I think that

      19      the letter's credibility rests in its balance.                 Dr. Weiner

      20      says he's been fighting his own inner demons for well over

      21      a decade and I think that's accurate and I think that

      22      that's exactly what the government's case and aggravation

      23      would show.

      24                  So I think the take-away from Dr. Weiner's

      25      letter is here is someone we can work with, someone who




                                             118                                    48
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014     Pg: 121 of 178



       1      accepted responsibility for horrific, for horrific acts,

       2      who didn't minimize, who has taken every step that he can

       3      to minimize the harm that he's caused.

       4                 And we don't need to rely on Dr. Weiner to come

       5      to that conclusion.    The Court has read Mr. Gazafi's

       6      letter.   Essentially, it's his hope that he can just erase

       7      himself from everybody's consciousness.            And, you know, I

       8      don't know how much more accepting a defendant can be.

       9                 And what's happened over the last nine months

      10      has been incredibly difficult in terms of his conditions

      11      of confinement and that's certainly not going to improve

      12      when he goes into the B.O.P. because any sentence this

      13      Court imposes is likely going to send him to the highest

      14      level of security.    So this isn't going to be an easy path

      15      for him by any stretch.

      16                 And what he shared with me and I'm sure he will

      17      share with the Court is he can't not think about what he's

      18      done and the pain that he's caused every minute of every

      19      day and that is not going away.           That's not going away.

      20                 So what we're asking the Court to do is give him

      21      some small chance that if he's committed to addressing his

      22      illness, that he'll be able to live the final years of his

      23      life, the final handful of years of his life as a free man

      24      and you can impose that kind of sentence because it's

      25      consistent with the statutory considerations.                It doesn't




                                           119                                    49
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014    Pg: 122 of 178



       1      overly rely on deterrence, but also reflects the sentence

       2      that considers rehabilitation, that considers the nature

       3      and characteristics of this particular individual,

       4      including a very long and distinguished history of

       5      military service.     The Court can come to that conclusion,

       6      give an extremely long sentence, sanction the conduct, but

       7      still give him something to work for.          Still give him a

       8      light at the end of the tunnel.

       9                   I would ask the Court to consider a B.O.P.

      10      recommendation that places him closest to his parents'

      11      home which is in Orange Park, Florida.           So if the judgment

      12      and commitment could reflect closest to Orange Park,

      13      Florida so that he could receive the support of his

      14      parents while they remain living.

      15                   We'd also ask that the Court recommend that he

      16      receive treatment for alcohol abuse, any mental health

      17      treatment that the B.O.P. is willing to extend him.            He is

      18      certainly willing as I mentioned to engage in sex offender

      19      treatment.     I think that Dr. Weiner's concern was the

      20      Court should try to get him into some kind of treatment

      21      now because the sex offender treatment depending on the

      22      Court's sentence may be a long way down the road for

      23      someone who's amenable and willing.          The time to receive

      24      those services may be now.      Thank you, Your Honor.

      25                   THE COURT:   All right.      Thank you.    Would your




                                           120                                50
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014    Pg: 123 of 178



       1      client like to address the Court?           I would be glad to hear

       2      from him.

       3                  MS. FITZGIBBONS:     He would, Your Honor.

       4                  THE COURT:    All right.       Have him stand up.

       5                  THE DEFENDANT:     Your Honor, there has never been

       6      a man more remorseful and full of sorrow for his actions

       7      in suffering his cause than I am today.            I come here today

       8      with a broken and contrite heart.           To my colleagues, my

       9      actions are both inexcusable and saddening.             That have

      10      caused your tireless work to be put into question causes

      11      me much sadness.      The job you continue to do under such

      12      circumstances make me proud to have been at one time part

      13      of that group.      Thank you for all that you gave me and I

      14      am deeply sorry to have caused you pain.

      15                  To my former friends who trusted me and cared

      16      for me when times were tough, you were always there for

      17      me.   Your support and kindness allowed me to endure

      18      situations that would have otherwise overwhelmed me.                I am

      19      forever sorry that I dishonored that trust and abused that

      20      kindness.    Please do not let my actions change the

      21      wonderful people that you are.

      22                  To my former congregation, your love and

      23      acceptance rescued me in a dark time and it is that same

      24      love that led me to accept Christ as my savior.              Because

      25      of that, I am alive today.       That I returned those




                                            121                                   51
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 124 of 178



       1      beautiful gifts with betrayal and pain causes me no end to

       2      remorse.    Please know that me and my actions sway you from

       3      your walk with the Lord.      He is with you and through his

       4      grace, we can all adore him and become stronger in our

       5      faith.     Thank you for what you have done to my spiritual

       6      well-being and I'm deeply sorry to have caused you to

       7      suffer.

       8                  To my mother, my father and my family, I cannot

       9      begin to comprehend the depth of pain I have caused you in

      10      this awful period of my life.       Nobody has a perfect life,

      11      but you are always there for me and that didn't change

      12      throughout this.     You are gifts from God.        And I am so

      13      totally thankful for your continued presence in my life.

      14      I am sorry for the pain that I have caused.           But I will do

      15      everything I can once again to make you proud of your son.

      16                  Lastly, but most importantly, to the victims and

      17      their families, I will not cheapen your pain and suffering

      18      with simple platitudes.      Please know that I am as sorry as

      19      a man can be and wish that I could undo what I have done.

      20      Since I cannot do so, I hope and pray that in time you can

      21      forgive me.     If you are unable to do so, I fully

      22      understand.     It is in my hope that through therapy and

      23      counseling that you can at least forget about me and put

      24      me out of your lives.     In doing so, perhaps you can close

      25      the door of this awful chapter and not allow it or me to




                                           122                                  52
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014     Pg: 125 of 178



       1      affect your lives any further.           Thank you, Your Honor.

       2                  THE COURT:     All right.      Let me hear from the

       3      government.     Are there any witnesses for the defense, by

       4      the way?

       5                  MS. FITZGIBBONS:       No.

       6                  THE COURT:     Okay.    Thank you.     You may proceed.

       7                  MS. FREITAS:     Given the representations of

       8      counsel at the bench, we won't call the witnesses, Your

       9      Honor.     Should there be any factual disputes, they are

      10      present.    It doesn't seem to me from defense that there

      11      will be.    So we'll proceed with argument.

      12                  THE COURT:     Okay.

      13                  MS. FREITAS:     We have an exhibit, Your Honor,

      14      that we would like to place so I can refer to it

      15      throughout my argument.

      16                  As the Court is aware, the government is seeking

      17      a sentence of at least a hundred years in this case and

      18      the government does not ask for this sentence lightly.

      19      This is a horrific case of child sex abuse and the

      20      production of child pornography.           To make the record

      21      clear, represent the victims and to present a clear

      22      picture for the Court, I'll go through the 3553(A)

      23      factors, not to the extent that the government did in

      24      their memo, but enough to demonstrate the need for this

      25      sentence.




                                            123                                 53
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014    Pg: 126 of 178



       1                 Your Honor, this case began with the defendant

       2      chatting online with an undercover officer and he wasn't

       3      chatting in a regular chat room, a sports chat room, a

       4      chat room about a hobby.     He was chatting in a chat room

       5      about incest, a room dedicated to people who were sexually

       6      interested in having a relations, sexual relations with

       7      their children and that's where the undercover was and

       8      that's why the FBI had an undercover officer in that chat

       9      room.

      10                 I'll refer to this as the site as the website is

      11      currently still under investigation by the FBI.              And I

      12      want to talk about a few of the chats.          It's important

      13      that the Court hear the voice of the defendant before

      14      court today.    The first chat that took place was on

      15      August 15th of 2011.    The defendant was utilizing the name

      16      Bill_James.    When asked what he was into by the

      17      undercover, he said "all sorts, young mostly, but pregnant

      18      nursing moms, bondage and feet."         They went on to discuss

      19      further and the defendant mentioned that he's "always on

      20      the lookout for single moms, even dated a few below

      21      standards to see if they had any kids he could get at."

      22      He was always, Your Honor, on the lookout for children.

      23      And I think, Your Honor, the crux of the government's

      24      argument on page 2 early on in the chats, when asked, he

      25      says "I've no real limits that I have found."              I think his




                                          124                                      54
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014     Pg: 127 of 178



       1      demonstrable interest in the young goes on.              He sent

       2      pictures of the age group he was attracted to.                Little

       3      girls, toddler age, prepubescent, little children in

       4      bathing suits.      Your Honor, this was his age of

       5      preference.    But this was 2011.          These were early in the

       6      chats.

       7                 The next chat was August 23, 2012.             And again

       8      this time, chatting is Foot Fan Bill.            And when asked, he

       9      stated "I love all ages, different ages do different

      10      things for me."     When asked by the undercover how long has

      11      it been for you since you had one so young, he stated,

      12      "well, last time I got to play, it was fairly innocent

      13      about a month ago.     Buddy has two little girls, ages eight

      14      months and 18 months.      Had about three hours alone while

      15      they went out to dinner and drinks.            There is something so

      16      incredibly erotic about having your cock out in front of

      17      little girls, isn't it?"       And Your Honor, he's referencing

      18      Victims 3 and 4.

      19                 He goes on in that chat, he says "I love going

      20      to the pools, beaches and parks to see what you can see.

      21      Another great place are the shopping malls with play

      22      escapes for the little ones.        So many hot sexy little bare

      23      feet and panty shots.      Hell, I've even had to go into the

      24      restroom and jerk off a few times, there were so many sexy

      25      little things."     When asked about pictures, he said "I




                                            125                                      55
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 128 of 178



       1      take private pics sometimes, but I don't share until I get

       2      to know someone better."      He also talks about collecting

       3      random pictures from the Internet later in that

       4      conversation.

       5                  Later on, when asked by the undercover what he

       6      has, he says do you have hardcore or just clothed young?

       7      He says "he has all sorts.      You looking to share?      Sure."

       8      The defendant says, "show me what you like."

       9                  Now the next chat, Your Honor, is probably the

      10      most important.     And those are Exhibits A-1 through A-3

      11      and this is Exhibit A-4.      This chat was August 15 of 2013.

      12      This chat is important because it's the one that he sent

      13      child pornography to the undercover in.          He starts off --

      14      the undercover says do you play or just peeks, in

      15      referencing Victim 1.     The defendant says "now it's just

      16      naked, cuddling, et cetera and playtime after bed.            But

      17      from eight months to around 4, it was much more."          He

      18      talks about he "doesn't share personal pics until he's

      19      talked to someone a bit because too many take them and

      20      run."

      21                  He tells the undercover, "I can do the same with

      22      her room.    I've got on cam and I show her sleeping to

      23      other dads."    Again, this is Victim 1.

      24                  The conversation goes on.       He says -- when

      25      they're talking about what they can show each other, the




                                           126                                56
USCA4 Appeal: 14-4522     Doc: 12      Filed: 10/09/2014    Pg: 129 of 178



       1      defendant says "panties are easy.             One sec.    Got a couple

       2      pair and her sexy white sheer tights I love."                  And I'll

       3      direct the Court's attention to Government's C-8.                 These

       4      are the white tights here, Your Honor, that he's

       5      referencing.      And we'll see them in pictures when the

       6      government plays examples from Government's Exhibit D.

       7                   He says and goes on in this chat because this is

       8      a lengthy chat, Your Honor, and an important one.                 He says

       9      "I do have pics.        You don't have to show me a pic if you

      10      don't want to.        I have no pics to prove Victim 1 is who I

      11      say.      But like I said, once she is back, I'll be happy to

      12      show her sleeping and such."

      13                   They go on.     This is the first picture, Your

      14      Honor, that the defendant sends.             In this picture is

      15      Victim 1 here and Victim 2 and he identifies them both for

      16      who they are and who he's taking pictures of.

      17                   He also goes on, Your Honor, to send a few pics

      18      and he says "here is some of her BFF, her best friend with

      19      my cum on her feet."        And, Your Honor, I'll direct the

      20      Court's attention.       This is one of many pictures the

      21      defendant sent of his ejaculate on the feet of children.

      22      As the Court is aware from the initial chat, he has a bit

      23      of a fetish, if you will.

      24                   They continue to chat.          He describes here her

      25      friend on the right and discussing feet pics that he can




                                              127                                   57
USCA4 Appeal: 14-4522    Doc: 12      Filed: 10/09/2014   Pg: 130 of 178



       1      send.     Ones with cum on them are mentioned.          He says

       2      "panty peek.     I love the little panties."          And when he

       3      said that, Your Honor, this is the picture that he sent.

       4      He says "is that better?        She was sleeping.       She's a sound

       5      sleeper."     When asked if he gets to touch her genitalia by

       6      the undercover officer, he says "yes, I have lots of cum

       7      pictures on her feet as well."

       8                  He tells the undercover officer "it would be

       9      nice to have an active pair of feet to play with, there's

      10      only so much you can do while they're asleep.                That's why

      11      I've been more active towards her best friend lately who

      12      always comes over."       He's talking about Victim 2.

      13                  He goes on and he says, when asked whether he

      14      has hardcore pics, he says "yes, I have some and I share

      15      for the same."       But what's interesting about this chat and

      16      what's important, Your Honor, is further down, he says "I

      17      focused on her lately."        He's talking about Victim 2, her

      18      friend.     When asked if she's a hard sleeper, the defendant

      19      says, "oh, yes, I love it, even gave her an Ambien once."

      20      And, Your Honor, we'll discuss the defendant's use of

      21      Ambien on Victims 1 and Victims 2 as my argument goes on.

      22                  Later in that chat, the defendant says "there's

      23      just something about sexy bare feet that drives me nuts.

      24      I have a two-week business trip coming up, but I should be

      25      able to get on during it."        And, of course, his business




                                             128                                  58
USCA4 Appeal: 14-4522     Doc: 12       Filed: 10/09/2014   Pg: 131 of 178



       1      trip, Your Honor, is for his military job, his service in

       2      the military that we've heard quite a bit about.

       3                   When asked about the picture, the undercover

       4      says was that your cock or finger in the last one?               The

       5      defendant says "finger.          Going to try and get her to take

       6      a whole Ambien next time.          Maybe have lots more fun."

       7                   Your Honor, further on in that chat, the

       8      defendant says "maybe we can work up to watching me cum on

       9      her friend's feet while she sleeps."             The undercover says

      10      what is the furthest you've gone with Victim 1 and her

      11      friend?      The defendant says "when Victim 1 was young, she

      12      sucked me and I did the same to her as well as lick, kiss

      13      and finger her ass.         Also played with the two little girls

      14      that were friend that I watch for sometimes.               About one

      15      and two years old.         I was actually supposed to be over

      16      there tonight, but they had to change their plans.               I told

      17      them to pick a date when I get back and I'll let them have

      18      a date night.         I love his two little ones.        The youngest

      19      doesn't talk much at all.          The oldest is just starting

      20      to."      When asked by the undercover, did you get shots of

      21      them, he said "I have got a few so far, but not many.

      22      Victim 1 is usually with me when I babysit."

      23                   They go on in that chat.         He talks about when he

      24      gets back.      What does he say?       "I hope to babysit my

      25      buddy's girls when I get back, too."             Your Honor, before




                                               129                               59
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014     Pg: 132 of 178



       1      he left for his trip for work, the military trip, he was

       2      already planning on molesting upon his return.

       3                  And the chat goes on.          He says "stockings and

       4      bare are best and should be sleepover in my place coming

       5      up, too."    That was the sleepover that Cheryl, the

       6      grandmother and caretaker of Victim 2 was referencing he

       7      was planning when they got back.

       8                  The undercover asks are they both hard sleepers,

       9      were you able to lick their genitalia or was it too risky?

      10      And the defendant says "her friend sleeps much harder, no

      11      licks as she started to stir when I tried."              But later on

      12      in talking about Victim 2, he says "only cum on her

      13      friend's feet.      She sleeps the hardest."         The undercover

      14      says so when you get to babysit them, in referencing

      15      Victims 3 and 2, how far have you gone with them?                 And the

      16      defendant answered "not often, no.            Every once in a while.

      17      Have cum on both, licked both, fingered the youngest ass

      18      and got the head of my cock in the youngest mouth.                    They

      19      squirmed around so much, I needed both hands.                 But I

      20      should be able to get more next time.            The older one

      21      adores me and youngest is very calm and mellow, especially

      22      for being just over one year's old."

      23                  The defendant's says in another chat when he's

      24      asked if he's ever ejaculated on Victim 1's feet and

      25      Victim 2's feet at the same time, he says "sure and after




                                            130                                       60
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014   Pg: 133 of 178



       1      I see yours on cam, I'll be happy to show her sleeping.

       2      Not just her friend.      Victim 1 is not near a sound

       3      sleeper."      He then states "I've been trying to get in her

       4      friend's pants a lot."

       5                   When asked by the undercover, he's trying to

       6      find out the extent of the defendant's abuse, if he's ever

       7      used a spy cam, he says "no, I never have.            When they take

       8      baths together, I go in.       Hell, they usually want me in

       9      the bathroom to talk."

      10                   Now, Your Honor, after the August 15th chat when

      11      the defendant sent the undercover child pornography, he

      12      did.      He sent not just the picture I showed the Court.         He

      13      sent two other pictures.       The FBI immediately sent out an

      14      emergency subpoena and identified him.           When they found

      15      out who he was, that he worked for the Air Force and that

      16      he was currently on assignment, the undercover continued

      17      to chat and they waited for his return.

      18                   It's important.    We heard about his military

      19      service which is a bit ironic since on that service, he

      20      not only had with him all of his child pornography, but he

      21      continued to chat at least with the undercover whom he

      22      believed to be a like-minded individual.           And while we're

      23      on that, Your Honor, just for clarification, the

      24      Diagnostic and Statistic Manuals of Mental Disorder, I

      25      just want to make sure I'm on the same page with the




                                             131                              61
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014     Pg: 134 of 178



       1      Court, states the "paraphilic focus of pedophilia involves

       2      sexual activity with a prepubescent child.           Individuals of

       3      pedophilia generally report an attraction to children of a

       4      particular age range.   The course is chronic."            So if I

       5      use that word, I just want to make sure, Your Honor, we're

       6      all on the same page.

       7                 Arrest and search warrants were issued and when

       8      the defendant's plane landed at Andrews Air Force Base

       9      August 31st, agents arrested him.         He had four hard

      10      drives, a laptop, two IPad's and an SD card.           And, Your

      11      Honor, on him were these two drives.         The child

      12      pornography he produced, he took it with him when he

      13      traveled on his military trips.         A forensic preview was

      14      conducted on those hard drives and the horror of what the

      15      defendant had done to these children began to reveal

      16      itself.

      17                 In total, the FBI identified five victims.            Four

      18      known, one that remains unknown.         They determined that the

      19      defendant produced 1,467 images and 20 videos of children

      20      and I want to be clear for the Court what I mean because

      21      that's a different number than the number I'm about to

      22      give of child pornography.    When I say that number, Your

      23      Honor, that does not constitute all child pornography.

      24      But it's important the Court understand that I'm not

      25      talking about Halloween pictures, Easter pictures,




                                         132                                   62
USCA4 Appeal: 14-4522     Doc: 12    Filed: 10/09/2014     Pg: 135 of 178



       1      Christmas pictures, vacation pictures.             These are images

       2      of his ejaculate on the children's feet, the children

       3      naked, the children up-skirted.            We have videos of him

       4      rubbing the children's feet on his erect penis while

       5      they're sitting on the floor trying to watch a cartoon or

       6      TV.    Those may not legally meet the definition of child

       7      pornography, but it's absolutely important that the Court

       8      understand the extent of his victimization of these

       9      children.      172 images and ten of the videos are child

      10      pornography.

      11                   What's even more frightening about these

      12      pictures, Your Honor, which the government will play a

      13      very brief sampling of for the Court is it's very obvious

      14      some of these children are not conscious, particularly

      15      Victims 1 and 2.      We know from the defendant's chats, he

      16      used Ambien.      He gave the children an adult sedative,

      17      incidentally, Your Honor, prescribed to him by the

      18      military for which he is trying to get credit and a lesser

      19      sentence.      The military prescribed this to him for his

      20      job.      And I want to make sure the Court understands Ambien

      21      is a sedative, also called a hypnotic.             It affects

      22      chemicals in your brain that may become unbalanced and

      23      cause sleep problems.      Ambien is used to treat insomnia.

      24      Ambien may impair a person's thinking or reactions.             Some

      25      people using this medicine have engaged in activities such




                                            133                                  63
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 136 of 178



       1      as driving, eating or making phone calls and later having

       2      no memory of the activity.       Ambien may cause a severe

       3      allergic reaction.       Stop taking Ambien and get emergency

       4      medical help if you have any of these signs of an allergic

       5      reaction.    Hives, difficulty breathing, swelling of your

       6      face, lips, tongue or throat.       Do not give this medicine

       7      to anyone younger than 18 years of age.         An overdose of

       8      Ambien can be fatal when it is taken together with other

       9      medications that can cause drowsiness.

      10                  And the defendant gave these to children so that

      11      he could better facilitate his sexual abuse and sadistic

      12      fetishes while they were passed out.        In doing so, he

      13      risked the lives of at least two of these children and it

      14      demonstrates the level that he went to to abuse them,

      15      particularly so he could bind and assault them.

      16                  Your Honor, I want to talk about the five

      17      victims of this defendant.

      18                  MR. CHAMBLE:     Your Honor, before we proceed with

      19      this video presentation, may we approach the bench?

      20                  THE COURT:     Come to the bench.

      21                  (Bench conference:)

      22                  MR. CHAMBLE:     I'm a little concerned, Your

      23      Honor.    I think this is an open courtroom.        And during the

      24      government's presentation and in their zeal, there was

      25      this picture displayed of a child's vaginal area which in




                                            134                             64
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014   Pg: 137 of 178



       1      an open courtroom?

       2                 MS. FREITAS:      We do it in trial.        The

       3      government's permitted to present to the Court.

       4                 THE COURT:      It's of marginal helpfulness to me.

       5      I think the picture, I know enough of what it is --

       6                 MR. CHAMBLE:      I just question the need for it.

       7                 THE COURT:      Why don't we just move on?           I don't

       8      think I need to see it.        I mean I really have a good

       9      imagination of what this is all about.

      10                 (In open court:)

      11                 MS. FREITAS:      Your Honor, Victim 1 is the

      12      subject of Count 2.       She was seven years old and had a

      13      familial relationship to the defendant.            As stated in his

      14      chats, he began molesting her at eight months to four

      15      years of age.       Exhibit A-4, this is her when he said "when

      16      victim was young, she sucked me and I did the same to her

      17      as well as lick, kiss and finger her."            Victim's 1 images

      18      have been trafficked by the defendant which I will talk

      19      about later.    The images depicting Victim 1 as evidenced

      20      in the created dates were created and taken in June of

      21      2012.

      22                 Victim 2 is the subject of Counts 1 and 5.                  She

      23      was a neighbor of the victim and you heard her caretaker,

      24      her grandmother speak in front of this court.                She was

      25      invited over for sleepovers.         As evidenced by the chats




                                             135                                     65
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 138 of 178



       1      and the number of images produced, it is absolutely clear

       2      that Victim 2 was the defendant's favorite.         There's no

       3      doubt about that.

       4                 Further, Your Honor, what makes this victim

       5      unique is unlike the pre-verbal Victims 3 and 4 who were

       6      barely able to speak, he groomed Victim 2 and grooming is

       7      a term of art used by law enforcement to describe the

       8      psychological manipulation inflicted on a child by someone

       9      preparing them for sexual abuse.

      10                 Now, Your Honor, this child is in several videos

      11      fully awake and naked in front of the defendant.         There's

      12      particularly one where he uses a hidden camera and has her

      13      doing gymnastics which places her naked, her genitalia in

      14      front of his mouth and that's on the camera.         During that

      15      time, she repeatedly asks him when can we go downstairs,

      16      when can we go downstairs and he continues to have her

      17      pose naked in front of the camera, often spreading her

      18      legs.

      19                 Now Victim 1 and 2, Your Honor, were both 7 and

      20      they're good friends and they're similarly sized and

      21      because the defendant in his pictures cut their heads off

      22      in the pictures to further de-humanize them and show his

      23      appreciation for them which is just in their bodies, it's

      24      difficult to distinguish which ones he produced or which

      25      ones were in the images he produced, Victim 1 or Victim 2.




                                         136                               66
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 139 of 178



       1      Those images were also produced in 2012 and some in 2013.

       2                   The Court heard about Victim 3.        She's an

       3      18-month-old female child, his buddy's kids as his chats

       4      evidenced.     He stated about this one he has cum on,

       5      licked, fingered anally and got the head of the cock in

       6      her mouth.     Now, Your Honor, this is an 18-month-old baby

       7      and she is seen drinking from a baby bottle in these

       8      images.     This is Victim 3.

       9                   Victim 4 is five months old, Your Honor, and I

      10      will state to the Court that there is a pedophilic

      11      interest.     It's referred to as neppy in infants.          The

      12      defendant's interest in babies far exceeded this one

      13      video.    He actually abused a five-month-old child for his

      14      sexual gratification.     Five months old.       It's impossible

      15      unless you see the video to understand the scope of that,

      16      of what a five-month-old baby is.         It's the farthest thing

      17      from a sexual object that there can be.          And you watch him

      18      as he removes the child's diaper and abuses this infant

      19      for the camera.

      20                   Victim 5, Your Honor, is a child younger than 7,

      21      but older than toddler age that we've simply not been able

      22      to identify.     Her images are in Count 3 and they were also

      23      produced in 2012.

      24                   What's interesting, Your Honor, is this

      25      defendant, the scope of his online activities.             He was




                                           137                                    67
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014     Pg: 140 of 178



       1      communicating with and participating with an individual

       2      who was shortly to be arrested who is on this board, KTF.

       3      KTF is a bulletin board that is dedicated to those

       4      sexually aroused by the feet of prepubescent girls.

       5                  And, Your Honor, there are many disturbing

       6      things in this world.       KTF is amongst them, but I'd like

       7      to show the Court as evidenced in the binder, these are

       8      the feet of Victims 1 and 2, handcuffed and written on.

       9      Your Honor, it's hard to believe that they would be awake

      10      for this.     Here's another one, Your Honor.            Love for KTF,

      11      kids teen feet.

      12                  It's quite interesting, Your Honor, when I hear

      13      the defendant's conditions of confinement, I wonder if the

      14      conditions of the children's confinement while he abused

      15      them was ever a concern to him.             These children are

      16      handcuffed.     They're bound.       They are tied up.         As the

      17      Court has discussed not needing to see the exhibits, Your

      18      Honor, these are not hair ties.             That's what they were

      19      intended for.       But they were tied so that the children's

      20      feet were together and their legs were spread apart.

      21      There are children bound with this thong underwear so

      22      their legs were hunched up behind their back so that he

      23      could take pictures of their genitalia.              And these

      24      handcuffs, Your Honor, were used on the children as well.

      25      This is adult lingerie, put on these little girls while




                                             138                                      68
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 141 of 178



       1      they are unconscious and bound for the defendant.

       2                   So when the defendant discusses his rough

       3      conditions of confinement, Your Honor, what about the

       4      confinement of the children?       It's very difficult for us

       5      to accept.

       6                   This is another image produced, Your Honor, by

       7      the defendant of their feet.

       8                   We talk about the scope of what he produced.           We

       9      have to talk about his distribution.         And, Your Honor, so

      10      far his images have appeared in seven other cases.           We

      11      have the first case that we have appeared in Iowa.

      12                   Now the next two cases are interesting, Your

      13      Honor.     305-A, the two 305-A cases.      Those are national

      14      operations into a group of websites operating on tour.              So

      15      boards like Hurt to the Core, Little Lolitas, Torpedo,

      16      those boards are currently under investigation.            These are

      17      boards of members from all over the world.           I know, Your

      18      Honor, because I assisted the agents working on that case.

      19      Virginia.     We've got 305-C.     That's CE.    That's

      20      Cincinnati, Department of Homeland Security and New York.

      21      These are cases all over the country and shortly all over

      22      the world.     The defendant has distributed these images as

      23      well.     But, Your Honor, what about child pornography he's

      24      received from other producers?        I mean we know he's

      25      sharing.     We saw that in his chats.      And it's interesting.




                                           139                                  69
USCA4 Appeal: 14-4522     Doc: 12       Filed: 10/09/2014     Pg: 142 of 178



       1      We were going to put Special Agent Dougher on the stand to

       2      testify that the National Center for Missing and Exploited

       3      Children and the FBI have located five or have identified

       4      on the defendant's computers seven children that have

       5      never been seen before.          Seven children.        And that means,

       6      Your Honor, that he's communicating with the individuals

       7      that produced.         Three of those children are images the

       8      defendant chatted with.          And when we look at some of the

       9      chats he's engaging with as Foot Fan Bill, Foot Fan Bill,

      10      the defendant, says "have you masturbated to the pics of

      11      vids of my daughter's feet?            The other individual says

      12      "that's a bit of a loaded question now, isn't it, but to

      13      be honest, yes, I can't lie."            And the defendant says

      14      "could you see that," referencing an image.                 "She's on her

      15      back, trying to get you a puffy mound shot.                 She's squirmy

      16      though.      Going to try to coax her on her tummy again.             Be

      17      right back.      Going to let her get back to deep sleep,

      18      kissing and nibbling her.          She's not a fan of sleeping on

      19      her tummy though.         She's stirring a bit.         Two knuckles."

      20      The individual he sent this to, Your Honor, is a live

      21      feeding a sexual abuse of three children.                 Two girls or --

      22      excuse me -- of three children.               Two of them were of

      23      sexual abuse.         One of a little girl and one of a little

      24      boy.      So the defendant's communicating with other

      25      producers.




                                               140                                 70
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014     Pg: 143 of 178



       1                   Now, Your Honor, certainly, we have talked about

       2      what the defendant has produced, what the defendant has

       3      gotten from other producers, what the defendant has sent

       4      to other individuals.       What about his -- all of his

       5      commercial child pornography?         He had over 15,000 images

       6      of videos depicting the rape and sexual abuse of children

       7      as young as infant age.        And something else, Your Honor,

       8      he has that I kind honestly say is a first.               He has

       9      pictures of infants right after they were born still

      10      containing the after birth on them.             That is how young his

      11      sexual interest goes.       He sought and downloaded these from

      12      the Internet.       Some of the worst.        There are pictures of

      13      toddlers bound, lit on fire and urinated on.               That's the

      14      defendant's sexual interest.

      15                   The National Center identified 2,038 image files

      16      of known children and 117 video files of known children

      17      from 138 series.       This was reflected in Government's

      18      Exhibit E and many of these victims provided statements to

      19      the Court.

      20                   The defendant's collection of infant/toddler and

      21      toddler files are significantly larger than collections

      22      seen by law enforcement agents.             As a matter of fact, we

      23      were going to put our forensic examiner on the stand who

      24      would have told you in 20 years, it's the worst collection

      25      he has ever seen.       Twenty years of doing forensic




                                             141                                 71
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014     Pg: 144 of 178



       1      examinations, this is the worst collection of child

       2      pornography he has seen.

       3                 The defendant amassed numerous images of

       4      children, infants and toddlers.          And his series included

       5      the sadistic abuse of prepubescent children which tracks

       6      his own interest as we saw in what he produced, the

       7      binding and tying of children.       And that, Your Honor, is

       8      the nature and circumstances of this case.

       9                 I won't spend as much time on the other factors,

      10      but I can't not touch on the seriousness of the offense

      11      without touching on the impacts to the families.            They

      12      have already talked about it and I can't possibly say it

      13      any better for the Court.     But what I will say and this

      14      pertains mostly to Victims 1 and 2 right now, Your Honor,

      15      is what these children are going to have to deal with

      16      every single day.

      17                 You know, never is a long time.           Never is their

      18      children's lives and their children's children's lives.

      19      Now there may be a day when we can remove these images

      20      from the Internet, but that is not today.

      21                 The government included studies and research

      22      done and the long term effects that Victims 1 and 2 will

      23      suffer from.    But actually, I thought it would be better

      24      to hear from other victims who have grown up and they're

      25      adults and they're trying to recover from this and how




                                          142                                    72
USCA4 Appeal: 14-4522    Doc: 12     Filed: 10/09/2014   Pg: 145 of 178



       1      they can't.     One of them who is now in her 20's and has

       2      suffered more than one nervous breakdown said "I'm writing

       3      to let you know that I am still having emotional and

       4      psychological problems due to knowing that the images of

       5      me being abused as a child are circulated freely on the

       6      Internet.     I wonder if people I know have seen these

       7      images.     I wonder if the men I pass in the grocery store

       8      have seen them.      I feel totally out of control.         They're

       9      trading around my trauma like treats at a party.             I feel

      10      like I'm being raped all over again by every one of them.

      11      And I am afraid that someone from the police will call and

      12      tell me they found more things or pictures in other

      13      people's computers or in other cases.          Every time someone

      14      else sees pictures or videos of me, it feels like they are

      15      the ones who hurt me to begin with.          Like they are the

      16      ones who did this stuff to me.         Like I am here for other

      17      people's pleasure.      If you were looking at pictures or

      18      videos of me or any child, you are hurting everyone you

      19      look at.    You were the one abusing us.         You were the one

      20      keeping my pain going for the rest of my life."             Those are

      21      two victims, Your Honor.       And we have two victims here

      22      whose images are on the Internet now.          They are out there

      23      and this is them in 15, 20, 25, 35 years.

      24                  The defendant doesn't have a child pornography

      25      problem.    The defendant is the problem.         He has completed




                                            143                                73
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014   Pg: 146 of 178



       1      the cycle of victimization for these children.                He abused

       2      them, photographed it and disseminated them out for the

       3      world to see.        And they will be reminded of this each and

       4      every time they get a letter telling them, guess what,

       5      your images are now being seen and been found by another

       6      person.

       7                  The history and the characteristics of the

       8      defendant, Your Honor, he wants the Court to consider his

       9      military background.        This is a reason to give him a

      10      lesser sentence.        We're not here for fraud or a bribery

      11      case or embezzlement.        We're here because the defendant

      12      used that military position as a means to groom the

      13      parents of these victims and let them babysit their

      14      children.     He used his military position to get to Victims

      15      3 and 4 because he worked with their dad.              He used a

      16      prescription drug prescribed by the military to drug

      17      Victims 1 and 2 before he put them in this disgusting

      18      lingerie and binds and ties and handcuffs and photographed

      19      them.     He used his military trips to communicate with

      20      other pedophiles.        But he wants you to take his military

      21      position in consideration.

      22                  The Court's aware of the defendant's high level

      23      clearances and we outline this in our memo.              He was a

      24      security threat.        Any person who gets hired in a top

      25      secret clearance goes through the training, Your Honor.                   I




                                              144                                 74
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 147 of 178



       1      know because I have had it and as well as Special Agent

       2      Dougher and Rob Marsh.      You are immediately a target and

       3      you're marked.      He took with him on his trips child

       4      pornography.     He used Internet sources of WiFi to

       5      communicate with others.       And I'll tell the Court some of

       6      the countries he's been to.         Saudi Arabia, United Arab

       7      Emirates, Bahrain, Omond, Jabuuti, Egypt, Kuwait,

       8      Indonesia, India and Afghanistan.          Those are countries

       9      that definitely would be considered a threat.               Each time

      10      he traveled on and off that plane, Your Honor, he was not

      11      searched.     He carried with him his collection of produced

      12      child pornography.     To consider his service when it's no

      13      relation to the crime at hand is what the Supreme Court

      14      had in mind.     To ask for and obtain consideration for

      15      military service when you used your service to gain

      16      victims and sexually abuse them is not.

      17                  Counsel touched upon Dr. Weiner's assessment,

      18      Your Honor.     I've been here four years and I've seen over

      19      three dozen of his assessments and I've never seen one

      20      that gives over a low to moderate risk for re-offending.

      21                  You know, the ATSA requires testing take into

      22      consideration something other than the defendant's

      23      statements.     It's interesting.      He's such a manipulative

      24      person.     He manipulated his own friends into leaving their

      25      children with him.     But it's just his statements that were




                                            145                                  75
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 148 of 178



       1      taken into consideration.     It's interesting he uses the

       2      Static 99 test when those that created it stated it was

       3      not designed for the contemplation of Internet crimes.

       4                 Furthermore and most amusing, Your Honor, is the

       5      defendant is non-sadistic.     Okay.    Well, the DSM that I

       6      read from earlier defines sadism as acts in which a person

       7      derives sexual excitement from the physical or

       8      psychological suffering including humiliation of the

       9      victim.   This includes having complete control over the

      10      victim.   Others will act out their sadistic fantasies with

      11      non-consenting victims.     In all of these cases, it is the

      12      suffering of the victim that is arousing.         Sadistic acts

      13      involve restraint, blind folding, spanking and it is

      14      chronic when practiced with non-consenting individuals and

      15      is likely to be repeated until the individual is

      16      apprehended.

      17                 So he's classified as non-sadistic.           Perhaps if

      18      Dr. Weiner had done what so many others that do

      19      psychologic evaluations in this district do and contacted

      20      government and set up a time to look at the images, he

      21      would have seen bound children, he would have seen

      22      children handcuffed cruelly or maybe he would have seen

      23      the images on the defendant's own computer of the kids

      24      beaten, burned, urinated on that the defendant liked.            So

      25      no, I don't rely on his report.




                                          146                                 76
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014     Pg: 149 of 178



       1                   And even more than that, Your Honor, I'm exactly

       2      curious.     What do you have to tell Dr. Weiner to become a

       3      high risk re-offending and who would be dumb enough to do

       4      that?     I mean if the defendant really told him everything

       5      he did and Dr. Weiner really reviewed anything, how can

       6      you place this defendant in a low to moderate risk of

       7      re-offending category when everything his colleagues, who

       8      put together the DSM, state is chronic and he will

       9      re-offend until apprehended?

      10                   And I'm also curious.        And I did subpoena

      11      Dr. Weiner.     He happens to be on vacation this week.        He

      12      states the defendant could be released back into the

      13      community.     Whose community?     Who wants this defendant

      14      living near their children?        I doubt Dr. Weiner does.        The

      15      defendant is not low risk.        A report based on the

      16      defendant's statements should not be considered by this

      17      Court.     Whether he is low risk or high risk, he should

      18      never be given the opportunity.           He should get the same

      19      sentence similarly situated defendants from all across the

      20      country have gotten and one proportionate to the damage

      21      he's inflicted upon these children.

      22                   You know, Your Honor, counsel points out that

      23      the cases, you know, we don't know enough about them.              And

      24      that's interesting because they all are the same charge,

      25      production of child pornography and they are from the




                                           147                               77
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 150 of 178



       1      First, Second and there's actually a Ninth Circuit case,

       2      Your Honor.    1,380 months, 1400 months, 1500 months, 1700

       3      months.   I mean the Ninth Circuit even said 120 years and

       4      that was for five victims.

       5                 Of course, you know, counsel would bring that up

       6      and bring up the issue of proportionality.           But the Fourth

       7      Circuit recently addressed the proportionality argument in

       8      the Cobbler case that Your Honor mentioned.           They

       9      evaluated it through the Eighth Amendment's cruel and

      10      unusual punishment clause.      A defendant can challenge his

      11      sentence as disproportionate under two theories, as

      12      applied or categorical, meaning the entire class of

      13      sentences is disproportionate based on the nature of the

      14      defense or the characteristics of the offender.

      15                 And the Fourth Circuit looked at this.            Cobbler

      16      had one victim, Your Honor.        One victim.    One that he

      17      sexually abused.     We have five children.       One who was five

      18      months old.    The Fourth Circuit stated the unusual

      19      severity was putting the child's life at risk by exposing

      20      him to a communicable disease.        But I argue, Your Honor,

      21      that by giving these children Ambien did the defendant not

      22      do the same thing.     We heard from Cheryl who stated this

      23      child came home and slept for two days and had to be

      24      forced awake to eat.     We saw the effect stated by Ambien.

      25      We know that the defendant is not only similarly situated,




                                           148                                 78
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 151 of 178



       1      but he's far worse.

       2                   And more interesting is that the attempted

       3      comparison to the Scott Smallwood case.          As the Court is

       4      well aware, I was one of two attorneys that handled that

       5      case in front of Your Honor.        Scott Smallwood produced

       6      seven video clips on two different days with one

       7      seven-year-old boy.       Now there were allegations he

       8      molested other family members.        But the government was not

       9      able to prove that.       We had one victim.     Scott Smallwood

      10      definitely had some creepy factors, but he didn't have any

      11      other child porn.     He didn't have it on anything, any

      12      computers.     He wasn't communicating with other producers.

      13      He wasn't downloading child porn from the Internet.           He

      14      didn't distribute the others he created of C.S., the

      15      victim in that case.      And he certainly wasn't chatting

      16      with other pedophiles.       He did not drug his victims.      He

      17      didn't handcuff his victim's leg and feet.           So it's like

      18      comparing apples to oranges.

      19                   I reached out to prosecutors who have been in

      20      this office for years and not one heard of the defendant

      21      whose actions were this bad.        Where does it lie in the

      22      cases?    Thirty years?    Thirty years, Your Honor, is

      23      insulting to the victims and it's not proportionate to the

      24      crimes he committed upon them.        When you look at what's

      25      proportionate and you think of how awful what the




                                            149                              79
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014   Pg: 152 of 178



       1      defendant did to these children was.           180 years would not

       2      be enough time.

       3                 Promoting respect for the law is not just about

       4      this defendant.       It's about appreciating his societal

       5      obligations.    What society views the laws ought to be to

       6      punish people when dealing with the safety of children.

       7      Society has no tolerance for the drugging and sexually

       8      abusing of children.       Not to mention the dissemination of

       9      child pornography on the Internet for the satiation of

      10      pedophiles.     The role of the defendant's crime far exceeds

      11      what Congress or the people ever contemplated someone

      12      would do because, Your Honor, to think about something

      13      like this is just too horrific.

      14                 When Congress says a crime is serious, it is not

      15      a suggestion.       It's the will of the people.        The reason we

      16      seek a sentence so high is to recognize the compelling

      17      interest in protecting children from monstrous acts like

      18      the ones this defendant perpetrated by the defendant and

      19      it's to let those people on the Internet know that he

      20      communicated with, that he asked in those chats, what do

      21      you think of my daughter, what do you think of my son,

      22      what do you think of my neighbor, what do you think of the

      23      kids down the street, it's to tell those people that this

      24      is not to be tolerated and that we are coming after you.

      25      That's why we ask for a high sentence.




                                             150                               80
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 153 of 178



       1                   We cannot deter this defendant.         He is sexually

       2      attracted to children by his own admission and engaged in

       3      those acts.     Went beyond engaging, but cruelly used them.

       4      He meets every definition for pedophilia.

       5                   So we think about general deterrence for people

       6      like him, people he chatted with and sent images to,

       7      people producing and hurting children.           People he traded

       8      abuse with.     As the Court stated in U.S. v. Goldberg,

       9      young children were raped and ordered to enable the

      10      production of the pornography that the defendant both

      11      downloaded and uploaded that he consumed and disseminated

      12      to others.     The greater the customer demand, the more that

      13      will be produced.      Sentences influence behavior or so

      14      that's at least what Congress thought when making 3553.

      15                   The logic of deterrence suggests that the

      16      lighter the punishment for downloading and uploading child

      17      pornography, the greater the customer demand and the more

      18      it will be produced.

      19                   The defendant is sorry, Your Honor.            He's sorry

      20      he got caught.      If he hadn't been caught when that plane

      21      landed on August 31st, he would have contacted Chad and

      22      Trisha and set up a date night for them and had the

      23      scheduled sleepover with Cheryl's two granddaughters.

      24      That's what he's sorry for.         We have to protect the

      25      public.   We have to protect children from this defendant.




                                            151                                  81
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014     Pg: 154 of 178



       1      Any sentence that lets him walk out of a jail will never

       2      be able to protect the children in the community he

       3      eventually moves to.       He must remain in jail for the rest

       4      of his life.

       5                  You know, Your Honor, I do want to show the

       6      Court something.       Your Honor, this is what a picture of a

       7      child is supposed to look like.             That's Victim 1.     This is

       8      Victim 2.     See, the defendant cut their faces out.             So I'm

       9      going to show the Court and the defendant what pictures of

      10      children are supposed to look like because the ones he

      11      took are not.       This is Victim 4.        This is Victim 3.     This

      12      is what he looked into when he sexually abused them, when

      13      he bound them.       And this is what a picture of a child

      14      should look like.       It's important the Court and the

      15      defendant see the faces of these children because he

      16      didn't put them in most of his pictures.              By doing that,

      17      he de-humanized them.       That's who they are.

      18                  This defendant in conclusion, Your Honor, I want

      19      to say he violated every law prohibiting child

      20      pornography, accessing with intent to view, possession,

      21      receipt, transportation, distribution, advertisement and

      22      production.     He is the worst case scenario for child

      23      pornography.

      24                  In eleven years of working child exploitations

      25      cases solely, 98% of which have been child pornography,




                                             152                                  82
USCA4 Appeal: 14-4522    Doc: 12       Filed: 10/09/2014   Pg: 155 of 178



       1      three as a federal agent and eight as a federal

       2      prosecutor, I have never seen such depravity in one

       3      defendant.     What makes this case worse is that this

       4      defendant hides behind his military service.              The military

       5      values duty, honor and country, Your Honor.              Key amongst

       6      these is honor.        That's why discharges are honorable or

       7      dishonorable.        Without honor, a soldier, an airman, a

       8      marine or a sailor is no more than a thug with a gun.

       9      There is nothing honorable about sexually exploiting

      10      children.     There is nothing honorable about pleasuring

      11      yourself while watching the most vulnerable among us being

      12      sexually abused, tied up and degraded.             This defendant is,

      13      therefore, without honor and should be ashamed and

      14      embarrassed to use the military service as a mitigating

      15      factor.     If he were that convinced his service would

      16      benefit him, let his punishment be determined by an

      17      infantryman or a Marine recon or a Navy seal or an Air

      18      Force combat controller.         Have the strength of character

      19      to man up to the bar and pay the tab.            Do not hide behind

      20      service ribbons.        Thank him for his service, Your Honor,

      21      but do not let this man ever walk out of prison again

      22      because he dishonors every man and woman who has worn that

      23      uniform.

      24                   He stripped the human dignity from these

      25      children.     And when he drug them, he took something more.




                                              153                               83
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014    Pg: 156 of 178



       1      He took away their voice.        Their ability to say no.           Their

       2      ability to stop him and their ability to have a future

       3      without a world able to view their violation.                 For all of

       4      these reasons, we ask the Court to sentence him to no less

       5      than a hundred years.       Thank you.

       6                  THE COURT:     All right.       I'm going to take a

       7      five-minute recess and then I'll pronounce the sentence in

       8      the case.    Thank you.

       9                  (Recess.)

      10                  (Bench conference:)

      11                  (It is the policy of this court that every

      12      guilty plea and sentencing proceeding include a bench

      13      conference concerning whether the defendant is or is not

      14      cooperating.)

      15                  (In open court:)

      16                  THE COURT:     The defendant is before me today for

      17      sentencing after having entered a plea of guilty to six

      18      counts of the indictment, all of which charge sexual

      19      exploitation of a minor for purposes of producing child

      20      pornography in violation of Section 2251(A) of Title 18

      21      United States Code.

      22                  I have applied the sentencing guidelines as the

      23      first step in the sentencing process and they produce an

      24      offense level of 47, which is off the charts.                 It's higher

      25      than any level authorized under the guidelines, which top




                                             154                                   84
USCA4 Appeal: 14-4522    Doc: 12   Filed: 10/09/2014   Pg: 157 of 178



       1      out at 43, and a Criminal History Category of 1, which

       2      produces a recommendation under the sentencing guidelines

       3      of life.    However, since the maximum per count is 30

       4      years, that amounts to a recommended sentence of 360

       5      months per count, not life.       Nevertheless since there are

       6      six counts, the functional equivalent of a life sentence

       7      could be fashioned in this case by imposing a sentence of

       8      a sufficient number of years that it would be the

       9      functional equivalent of a life sentence.

      10                  The government has recommended that I impose a

      11      sentence of 1200 months or a hundred years.          The probation

      12      officer has recommended the functional equivalent of a

      13      life sentence by recommending 720 months by running the

      14      first two counts consecutive and the rest concurrent,

      15      which would be a sentence of -- that if he were to serve

      16      it and have perfect good conduct credits would produce a

      17      net sentence of 612 months or 51 years.         Those are the

      18      recommendations that I have in front of me.          The defense

      19      argues that they would believe that a sentence of 30 years

      20      would be sufficient, but not greater than necessary to

      21      comply with the purposes of sentencing.         So those are the

      22      in effect the three positions that are before me for the

      23      sentence in this case.

      24                  I have frequently said that the most difficult

      25      thing I do is sentencing and this is perhaps the most




                                          155                                 85
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 158 of 178



       1      difficult child pornography sentencing I have ever had to

       2      do.   And this is an especially bad day I suppose because I

       3      had to do a child pornography sentencing in the morning.

       4      So I will look forward to a respite from child pornography

       5      cases after today.

       6                 The overall command of the sentencing statute is

       7      to be impose a sentence that will be sufficient, but not

       8      greater than necessary to comply with the purposes of

       9      sentencing, which I'll address one by one in this case.

      10      And the guidelines themselves recommend in a advisory

      11      capacity that I'm required to consider, but give no

      12      presumption of correctness to a sentence of life or what

      13      would be the functional equivalent of a life sentence

      14      would be consistent with that recommendation of life.

      15      Rarely do I have before me cases in which the offense

      16      level goes over the top of 43, which this one does.       It

      17      exceeds it by four levels.     And so that certainly tells me

      18      that the sentencing guidelines view this as a very

      19      significant offense, worthy of significant punishment.

      20                 Let me address the factors under Section 3553 of

      21      Title 18 of the United States Code, which is the federal

      22      statute that governs the imposition of sentences in

      23      federal criminal cases.     As I said before, that statute

      24      requires that I impose a sentence that's sufficient, but

      25      not greater than necessary to comply with the purposes of




                                          156                            86
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 159 of 178



       1      sentencing that are set forth in paragraph 2 of

       2      Subsection A.

       3                   Before addressing those specific factors, the

       4      first matter addressed under Subsection A is the nature

       5      and circumstances of the offense and the history and

       6      characteristics of the defendant.         I will point out that

       7      in terms of the nature of this offense, that this is one

       8      for which very significant punishment has been specified

       9      by Congress as well as by the sentencing guidelines.            The

      10      guidelines and the statutory penalties in this case are

      11      widely viewed as very harsh.       And the question is is that

      12      a problem.

      13                   I think the Fourth Circuit answered that

      14      question in its April 11 opinion in United States v.

      15      Cobbler at page 18 of the slip opinion.          It said as a

      16      general matter, "the prohibition of child pornography

      17      derives from the legislative judgment that such materials

      18      are harmful to the physiological, emotional and mental

      19      health of children and that preventing the sexual

      20      exploitation of this uniquely vulnerable group constitutes

      21      a government objective of surpassing importance."          And the

      22      Court went on to say "we further observe that the usual

      23      severity of conduct of this nature is far exceeded by the

      24      particular circumstances of this case."          And they went on

      25      to discuss Cobbler's case in which he had possessed large




                                           157                                87
USCA4 Appeal: 14-4522   Doc: 12       Filed: 10/09/2014     Pg: 160 of 178



       1      quantities of child pornography and also exposed his

       2      victims to a communicable disease.

       3                   In that case, the Fourth Circuit had a case in

       4      which the sentence that was upheld was 120 years.              And all

       5      cases are different.       Judgments in criminal cases have to

       6      be made on an individual basis.             But I thought that the

       7      observation made by the Fourth Circuit with respect to the

       8      relatively significant level of punishment reserved for

       9      child pornography cases was worth repeating.

      10                   The nature and circumstances of the offense I

      11      think have been graphically described by the government in

      12      this case.     They represent perhaps the worst case of child

      13      pornography that I've had the misfortune of coming into

      14      contact with.       The most significant one before this was

      15      the Smallwood case that both parties have mentioned

      16      involving a Prince George's County school bus driver who

      17      photographed sexual activities between him and the

      18      children under his charge.        That case as horrific as it

      19      was did not involve the depravity and the extent of

      20      participation in production of child pornography as did

      21      this case.

      22                   The defendant very appropriately points out that

      23      he has a military career and that I should take that into

      24      account and I do.       But I think what's significant is that

      25      he used that military career and capacity to assist him in




                                             158                                88
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014   Pg: 161 of 178



       1      the commission of his heinous crimes in this case by

       2      taking advantage of volunteering to watch people's

       3      children in connection with the military service gave him

       4      the opportunity to prey on victims that otherwise he might

       5      not have been able to prey on.         So I consider that

       6      whatever benefit he gets by his military service is

       7      checked and then some by the fact that he used that

       8      military career in connection with the commission of his

       9      crime.

      10                 It is quite disturbing to think that the Vice

      11      President of the United States or the First Lady is flying

      12      around the world with somebody on the plane carrying with

      13      him a treasure trove of child pornography, much of which

      14      he produced himself.      That is just shocking.

      15                 The history and characteristics of the defendant

      16      are ones that are not atypical for defendants in child

      17      pornography cases.     He has virtually no criminal history

      18      whatsoever.    It is obvious that there is some demon inside

      19      him that has caused him to become the sexual monster that

      20      he has become.      And I am hopeful that the Bureau of

      21      Prisons can delve into that and do the best they can to

      22      help him overcome the demons that have caused him to

      23      behave in this way, whatever those demons may be.

      24                 Now let me address the specific factors under

      25      Subsection A(2).      I'm required to impose a sentence that




                                            159                           89
USCA4 Appeal: 14-4522   Doc: 12    Filed: 10/09/2014   Pg: 162 of 178



       1      will reflect the seriousness of the offense.          Make no

       2      mistake about it, this has got to be one of the most

       3      serious offenses of this nature that I've ever seen.

       4                 I was considerably aided by the testimony of the

       5      victims in this case.    I don't get victim testimony in all

       6      cases.    But in many, I do.    And in some, the victim

       7      testimony is helpful.    In others, it's neutral.         It

       8      doesn't give me anything that I didn't already know in

       9      terms of somebody being a victim of a crime, such as a

      10      bank coming in and telling me they've lost a lot of money.

      11                 In this case, the victims have convincingly told

      12      me that they didn't lose just money.        In many respects,

      13      they've lost their happiness, their sense of well-being,

      14      their sense of security.       This is not a minor matter.

      15      This has got to be at the top of the scale of seriousness

      16      of offenses in the child pornography arena, perhaps in all

      17      arenas.   So this is right at the top of the charts in

      18      terms of seriousness of the offense.

      19                 I am required to consider the need for the

      20      sentence imposed to promote respect for the law and to

      21      afford adequate deterrence to criminal conduct.           Nothing

      22      less than a very substantial sentence would achieve either

      23      one of those parallel goals.

      24                 I am also to consider the need to protect the

      25      public from further crimes of the defendant.          This is a




                                          160                                 90
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 163 of 178



       1      absolutely horrific series of crimes reflected in these

       2      six counts to which the defendant has pled guilty.           These

       3      are crimes that the public should not have to tolerate at

       4      any time under any circumstances.         And I consider

       5      protection of the public to be of the highest order in

       6      this case.

       7                   I am required to consider the need to provide

       8      the defendant with educational or vocational training,

       9      medical care or other correctional treatment in the most

      10      effective manner.     I believe the only setting in which to

      11      do that is in an incarcerated sentencing.           And I will make

      12      appropriate recommendations to the Bureau of Prisons in

      13      that regard.

      14                   I am required to consider the kinds of sentences

      15      available.     That's not a significant factor in this case

      16      because that's asking me to consider whether a

      17      probationary or other type of disposition other than

      18      incarceration will be appropriate and this is a case in

      19      which incarceration is absolutely mandatory.

      20                   I am required to consider the need to avoid

      21      unwarranted sentence disparities among defendants with

      22      similar records who have been found guilty of similar

      23      conduct.     That's the principal purpose of the sentencing

      24      guidelines.     In this case, they recommend that I impose a

      25      sentence of life or because of the statutory maximum of




                                           161                               91
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 164 of 178



       1      360 months, which will be per count.         And the sentence

       2      could be fashioned to string those counts together to

       3      reach the functional equivalent of a life sentence.

       4                   I have reviewed the other cases that have been

       5      brought to my attention by the defense in their

       6      well-prepared sentencing memorandum or at least one of

       7      which was mine.     I see poor Judge Heller had three of them

       8      and I believe the longest of those sentences is the

       9      sentence I imposed in the Smallwood case.           And as I said,

      10      this was four victims.     There was simply him taking

      11      pictures with using his cell phone camera.           If I recall

      12      correctly, there was no indication of distribution.

      13      Simply taking pictures for his own gratification.

      14                   This defendant in sharp contrast to Smallwood

      15      has engaged in bizarre and hideous sexual behavior by

      16      seeking out people for sexual activity recorded of the

      17      most sadistic nature, has produced child pornography with

      18      the worst thing I can think of, a family member, his

      19      child, and has taken advantage of his role in the military

      20      to volunteer to watch children for other people.             We have

      21      one victim we can't even identify.        So the breadth of his

      22      activity is dramatically greater than that of Mr.

      23      Smallwood.     As hideous as his activity may have been, it

      24      was with a small number of victims with no distribution.

      25      It was simply production of child pornography.             And so I




                                           162                                 92
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 165 of 178



       1      find in terms of trying to be faithful to the goal of

       2      substantially similar sentences with people with similar

       3      records and similar conduct that the Smallwood case would

       4      argue in favor of a substantially higher sentence than

       5      Mr. Smallwood received.

       6                 And I've looked at the other cases mentioned at

       7      page 7 and 8 of the defendant's well-prepared sentencing

       8      memorandum and I find that all of those cases are of

       9      lesser import than the grievous circumstances of this

      10      defendant's conduct in this case.

      11                 He's brought disgrace upon his military career.

      12      And as I said, I shiver to think of our Vice President or

      13      First Lady flying around the country with him caring for

      14      their needs while he's transporting personal computers

      15      that have his pornography on it.

      16                 I am also required to consider the need to

      17      provide restitution to any victims of the offense.               I have

      18      not been provided with specific information that would

      19      justify an award of restitution in this case.            Quite

      20      frankly, I don't know how this defendant is going to be

      21      capable of making restitution to anybody because he's

      22      going to be in prison for so long.      And frankly, to order

      23      restitution out of whatever limited funds he might have or

      24      produce while he's in prison would remind these victims of

      25      his existence and something I think from what I've heard




                                         163                                     93
USCA4 Appeal: 14-4522    Doc: 12    Filed: 10/09/2014   Pg: 166 of 178



       1      today, they would just as soon not do, not hear from him.

       2                  Would that it would be in my power to make an

       3      enormous award of restitution, this is one of those cases

       4      in which the amount of money that would compensate for

       5      what happened to these victims is probably difficult to

       6      even count.     The whole purpose of our damages system is to

       7      try to compensate for harms with money.          This is one in

       8      which I think the task would be almost incalculable to try

       9      to do it.

      10                  We have young ladies who have been molested,

      11      drugged.    I didn't mention that in terms of another

      12      aggravating factor of this case in relation to others.            To

      13      take a drug that shouldn't be used by people under 18 and

      14      use it on little toddlers is just beyond the pale.          So as

      15      I said, this ranks at the very top of the charts for me in

      16      terms of any child pornography case I've ever had.

      17                  And I recognize that the defendant would like to

      18      have the assurance that at some point he may walk out a

      19      free man from prison.     I don't think this is one in which

      20      I should make that happen.      His conduct is of the most

      21      depraved that I've ever seen.       And I have grave

      22      reservations about my ability to protect the public from

      23      somebody who is engaged in a persistent course of conduct

      24      like this as to whether he could ever be safely released

      25      to the community.




                                           164                              94
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014    Pg: 167 of 178



       1                 There are six counts in this case.           I'm going to

       2      impose a sentence of 30 years on each of the six counts.

       3      I'm going to have Counts 1, 2, 3 and 4 be consecutive to

       4      each other for a total of 120 years.          I'm going to have

       5      Counts 5 and 6 be concurrent with those previous four

       6      counts.   So that the total sentence is 120 years.

       7                 I'm going to recommend that he be placed in a

       8      high level security institution because of his advance

       9      training in matters that might permit him to get his way

      10      out, such as USP Florence, high.          I'll recommend that he

      11      receive sex offender specific treatment.           I'll recommend

      12      that he receive alcohol treatment.

      13                 I will place him -- should he survive this

      14      sentence, which I'm pessimistic that he will, but should

      15      he survive this sentence, I will place him on a period of

      16      supervised release of life on all six counts and I will

      17      impose the mandatory and standard conditions adopted by

      18      the court with the additional inclusion of the nine

      19      recommended conditions contained in the presentence report

      20      recommendation section, which counsel all have and will be

      21      part of the public record.      But I will just briefly

      22      summarize them rather than repeat them entirely.            But I

      23      will impose those as recommended conditions on any

      24      supervised release.    One is that he comply with sex

      25      offender registration requirements, that he participate in




                                           165                                95
USCA4 Appeal: 14-4522    Doc: 12   Filed: 10/09/2014   Pg: 168 of 178



       1      a sex offender treatment program, that he not have contact

       2      with any victim or witnesses in this case by any means,

       3      that he have no contact with any person under the age of

       4      18 except with permission of the probation officer under

       5      the circumstances described in that provision, that he not

       6      own, use, possess or read any materials containing

       7      sexually explicit conduct, that he not use any computer

       8      systems or Internet capable devices without the permission

       9      of the probation officer, that he not rent or use a post

      10      office or storage facility without approval of the

      11      probation officer, that he participate in a treatment

      12      program relating to substance and/or alcohol abuse and

      13      that he pay the special assessment of a hundred dollars

      14      per count for a total of $600 if he has not done so

      15      already.

      16                  I will also recommend to the Bureau of Prisons

      17      in connection with his sentence that he not be permitted

      18      to -- that his communications be monitored.          They have a

      19      Communications Control Unit that I'm familiar with.          And I

      20      will recommend that he be placed in the Communications

      21      Control Unit for the purpose of monitoring any attempt to

      22      communicate with victims in this case or their family

      23      members.

      24                  I will not make an order of restitution in this

      25      case for the reasons I've previously said.          I do believe




                                          166                               96
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014   Pg: 169 of 178



       1      that it would be hard to count the number of dollars that

       2      would be appropriate.        But this defendant is not going to

       3      be making any money to make any restitution I'm sad to

       4      say.

       5                   The defendant does not have the resources with

       6      which to pay a fine.        So I will not impose one.      But were

       7      he to have the resources, the sentencing guidelines are

       8      from $25,000 to $250,000, which seems like a modest range

       9      if I had somebody in front of me with an ability to pay.

      10                   I'm going to impose the special assessment of

      11      $100 per count, for a total of $600.

      12                   Now before I continue to advise the defendant of

      13      his rights to appeal, are there any other questions people

      14      wish to raise before I finish sentence?

      15                   MS. FREITAS:     Yes, Your Honor.    I just have two

      16      questions.     For the record, would the Court have reached

      17      the same result even if it had decided the guideline issue

      18      the other way and/or would the Court have imposed the same

      19      sentence regardless of the advice of the guidelines?

      20                   THE COURT:     Absolutely.   I mean this is a case

      21      in which if the guidelines had recommended 30 years, I

      22      would have imposed the same sentence.         This is just

      23      absolutely horrific.

      24                   I mean if Congress in its infinite wisdom has

      25      decided that 30 years is the most you can get for




                                             167                              97
USCA4 Appeal: 14-4522   Doc: 12      Filed: 10/09/2014     Pg: 170 of 178



       1      something like this, I can't for the life of me see why I

       2      would be imposing anything other than the maximum for the

       3      circumstances of this case.          This case is just horrific.

       4      And I could certainly have imposed all six of them at 30

       5      years a piece consecutive, but I think at some point the

       6      mathematics becomes impossible to even count.

       7                   So that with a 120-year sentence with 15% for

       8      discount for good behavior, the gentleman will have to be

       9      a miracle man to emerge from prison.            But I would have

      10      imposed the exact same sentence even if my guideline

      11      application is wrong and there's just no circumstances

      12      under which I would impose a lesser sentence in a case

      13      like this.

      14                   MS. FREITAS:     Thank you, Your Honor.

      15                   THE COURT:     All right.      I want to advise --

      16      anything else?

      17                   MS. FREITAS:     No, Your Honor.

      18                   THE COURT:     I want to advise the defendant of

      19      his right to appeal.        You have a right to appeal your

      20      conviction and sentence to the United States Court of

      21      Appeals for the Fourth Circuit, which is the federal

      22      appellate court that has jurisdiction over the decisions

      23      of this court.      If you wish to do so, you must do so

      24      within 14 days of today's date.            Otherwise your right to

      25      appeal will be lost.




                                             168                                 98
USCA4 Appeal: 14-4522   Doc: 12     Filed: 10/09/2014     Pg: 171 of 178



       1                   If you're unable to pay the filing fee, there

       2      are procedures that your attorneys or the clerk of the

       3      court can explain to you to have that filing fee waived.

       4      But unless you initiate an appeal within 14 days of

       5      today's date, your right to challenge your conviction and

       6      sentence by way of appeal will be lost.            Do you understand

       7      that, sir?

       8                   THE DEFENDANT:     Yes, sir.

       9                   THE COURT:     All right.    Anything further?

      10                   MS. FREITAS:     No, Your Honor.

      11                   THE COURT:     All right.    Thank you very much.

      12                   (Proceedings were concluded.)

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25




                                             169                               99
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 172 of 178




                                         170
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 173 of 178




                                         171
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 174 of 178




                                         172
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 175 of 178




                                         173
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 176 of 178




                                         174
USCA4 Appeal: 14-4522   Doc: 12   Filed: 10/09/2014   Pg: 177 of 178




                                         175
USCA4 Appeal: 14-4522    Doc: 12      Filed: 10/09/2014 Pg: 178 of 178
                Case 8:13-cr-00472-RWT Document 53 Filed 07/07/14 Page 1 of 1



                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION

        UNITED STATES OF AMERICA                      *

        v.                                            *         Crim. No. RWT-13-0472

        WILLIAM GAZAFI                                *

                            *     *    *     *    *        *    *    *   *      *     *

                                           NOTICE OF APPEAL

                    Defendant, William Gazafi, by and through his attorneys, James Wyda, Federal

        Public Defender for the District of Maryland, and Amy Fitzgibbons, Assistant Federal Public

        Defender, hereby appeals the sentence imposed in this case on June 23, 2014.



                                                      Respectfully submitted,

                                                      JAMES WYDA
                                                      Federal Public Defender
                                                       for the District of Maryland

                                                                     /S/
                                                      ____________________________
                                                      AMY FITZGIBBONS, #97952
                                                      Assistant Federal Public Defender
                                                      Federal Public Defender's Office
                                                      6411 Ivy Lane, Suite 710
                                                      Greenbelt, Maryland 20770-1405
                                                      (301) 344-0600
                                                      Fax No. (301) 344-0019
                                                      amy_fitzgibbons@fd.org




                                                          176
                                                          177
